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                 EXPERT REPORT OF JOHN J. MACDONALD III




                                  May 10, 2019




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    I.        EXECUTIVE SUMMARY

         1.      I, John J. MacDonald III, hereby submit this report of my opinions in the above-captioned
                 matter.

         2.      The opinions in this report are my own and are based upon my education, professional
                 experience, and examination of the documents, electronic data, and other information
                 provided by the parties in this action. I am independent from all parties and their legal
                 advisors and affirm my genuine belief in the opinions expressed in this report. A detailed
                 recitation of my opinions and work performed is discussed throughout the remainder of
                 this report.

         3.      I understand that the above-captioned lawsuit, Track One of In Re National Prescription
                 Opiate Litigation is a litigation brought by Cuyahoga County and Summit County
                 (collectively referred to as “Plaintiffs” or “Track 1 Counties”), alleges among other things
                 that the defendant manufacturers’ conduct in promoting opioid use has allegedly led to
                 improper opioid use causing the Plaintiffs to incur increased costs in public health, social
                 services, criminal justice consequences, and increased need for services. The Plaintiffs
                 have also alleged that the parties in the supply chain for opioids, which includes
                 manufacturers, distributors, and pharmacies, have failed to maintain effective controls over
                 the distribution of prescription opioids. 1

         4.      Cardinal Health, Inc. (“Cardinal”) is a pharmaceutical distributor contracted to provide
                 prescription drugs from hundreds of manufacturers to thousands of government-authorized
                 pharmacies that fill doctors’ prescriptions for patients. As will be discussed in more detail
                 below, Cardinal facilitates the chain of distribution of pharmaceuticals. Cardinal does not
                 manufacture, promote, or prescribe medications to members of the public. 2


1
    In Re National Prescription Opiate Litigation, The County of Cuyahoga, Ohio, et al., v. Purdue Pharma L.P., et
    al., Case No. 17-OP-45004, Second Amended Complaint, May 30, 2018, (“Cuyahoga Complaint”), ¶ 14; In Re
    National Prescription Opiate Litigation, The County of Summit, Ohio, et al., v. Purdue Pharma L.P., et al., Case
    No. 17-md-2804, Amended Complaint and Jury Demand, April 25, 2018, (“Summit Complaint”), ¶ 14.
2
    Cardinal Health Fiscal 2018 Form 10-K, p. 3 found at
    https://www.sec.gov/Archives/edgar/data/721371/000072137118000077/a18q4_10kx063018xform10-k.htm,
    last accessed May 8, 2019.



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        5.      Counsel for Defendant Cardinal has requested that I review and opine on the report of
                Plaintiffs’ expert Craig J. McCann, Ph.D., CFA (“McCann Report”) by reviewing the
                methods prepared by McCann and assessing their accuracy and reasonableness for
                retrospectively assessing purchasing patterns of individual Cardinal customers. 3 Although
                not my primary assignment, I have also been asked to address certain items contained in
                the reports of James E. Rafalski (“Rafalski”), David Cutler, Ph.D. (“Cutler”), Dr. Seth
                Whitelaw (“Whitelaw”), and Thomas McGuire (“McGuire”) which relate to my primary
                assignment. 4

        6.      The authors of the reports named in the preceding paragraph have not all been deposed as
                of this writing. McCann’s deposition was scheduled to continue through today’s date, and
                Rafalski and Whitelaw are scheduled to be deposed later. It is my intention to review and
                evaluate those deposition transcripts and amend or supplement this report, as appropriate.

        7.      The Plaintiffs have alleged that Cardinal deliberately disregarded its duty to maintain
                effective controls and to identify, report, and take steps to halt suspicious orders that were
                distributed to retail pharmacies. I understand that Cardinal has denied these allegations and
                maintains that it had adequate systems in place to monitor orders it distributed to retail
                pharmacies for fulfillment with the reasonable expectation that the drug substance would
                be dispensed by the retail pharmacies in response to lawful prescriptions.

        8.      My opinions are presented in greater detail throughout the remainder of this report. In
                summary, it is my opinion that:

                                          •   McCann’s purported methods do not identify orders of
                                              controlled substances that are of unusual size, pattern, or
                                              frequency as required by 21 C.F.R. § 1301.74(b).




3
    Expert Report of Craig J. McCann, Ph.D., CFA, dated March 25, 2019; Supplemental Expert Report of Craig J.
    McCann, Ph.D., CFA, dated April 3, 2019.
4
    Expert Report of James E. Rafalski, Analysis of Distributor and Manufacturer Regulatory Compliance to
    Maintain Effective Controls for the Prevention of Diversion of Controlled Substances, dated April 15, 2019
    (“Rafalski”); Expert Report of Professor David Cutler, dated March 25, 2019; Expert Report of Dr. Seth
    Whitelaw, Examination of Compliance Standards for Opioid Manufacturers and Distributors, dated April 15,
    2019.


                                                      2
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                                 •   McCann fails to take into account the distributor’s role in the
                                     supply chain, including but not limited to, fulfillment of
                                     medical demand for opioids by pharmacies based on
                                     prescriptions from doctors to meet legitimate patient medical
                                     needs.

                                 •   McCann’s methods result in the identification of over
                                     shipments as “suspicious,” a result that does not hold up under
                                     further scrutiny. My analysis indicates that over 99% of the
                                     shipments identified by McCann are affected by one or more
                                     contextual factors that should be taken into account before
                                     declaring that an order is of unusual size.




                                              3
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   II.         QUALIFICATIONS AND COMPENSATION

         9.      I am President of Berkeley Research Group (“BRG”) and a senior member of the BRG
                 Health Analytics practice. I have over 30 years of experience providing economic,
                 financial, accounting, and data management consulting services to clients in the healthcare,
                 financial services, and government contracting industries.

         10.     I have spent the majority of my professional career focused on data analytics, economic
                 and financial modeling, evaluation of business practice, and regulatory compliance on
                 matters involving a wide array of issues, often related to litigation or investigation driven
                 events and with a particular focus in the healthcare industry. A significant amount of my
                 work has been related to allegations of fraud or other aberrant activities and has required
                 analysis of very large health datasets.

         11.     Much of my data analytics work has involved detailed analyses of temporal trends and
                 patterns and has often involved developing approaches to identify “outlier” events or
                 activities. Outlier identification typically involves a two-step process: 1) developing
                 programmatic methods to initially flag unusual or unexpected data points from within a
                 much larger population of usual or expected data points; and 2) performing contextual
                 analysis on the flagged items to determine whether unique circumstances exist explaining
                 the unusual or unexpected nature of the flagged items. This contextual analysis is informed
                 by many years of working with a vast array of healthcare related datasets, including
                 provider billing data, electronic medical records data, managed care claim adjudication
                 data, pharmaceutical sales and chargeback data, and pharmacy data. I have a broad working
                 knowledge of the various coding sets used within health data, including procedure related
                 codes (CPT, DRG, APG), diagnostic codes (ICD9/10), drug codes (NDC) and others.

         12.     I have worked extensively with companies in the pharmaceutical supply chain such as
                 manufacturers, distributors, pharmacy providers, and pharmacy benefit managers on a
                 variety of projects including matters related to pricing, compliance, fraud and abuse issues,
                 coordination of benefits, billings, and collections. I have extensive experience analyzing
                 the contractual relationships and transactions that take place between parties in the
                 pharmaceutical supply chain, including analyzing sales data, purchase data, inventory and
                 ordering data, among other data sets. I have also reviewed policies and procedures and


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            business practices of numerous providers and payers. I have examined purchase and sales
            transactions as well as the related accounting records, contracts, and other documents
            related to the relationships between parties providing healthcare goods and services and
            the payers for those services. In doing so I have developed expertise in the flow of money
            and goods in the healthcare system, including within the pharmaceutical supply chain, as
            well as the transactional data that record those interactions.

      13.   My Curriculum Vitae, which describes in detail my professional and testifying experience,
            as well as my educational credentials, is attached as Attachment 1.

      14.   BRG bills for professional services rendered based on actual hours incurred at contractually
            agreed upon rates per hour. My hourly billing rate is $725.

      15.   BRG’s compensation in this matter is not dependent on, or in any way contingent upon,
            my findings or opinions.

      16.   See Attachment 2 for a list of materials I considered in preparing this report.




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    III.         BACKGROUND

           A.      Brief Overview of McCann’s Report

           17.     The McCann Report includes the results of 5 different methods he uses to analyze the
                   shipment of opioid products based on the Automated Records and Consolidated Orders
                   System (“ARCOS”) 5 data (as augmented by certain transaction data produced by
                   defendants deemed to be missing from the ARCOS data) for 12 controlled substance drug
                   codes by Cardinal to pharmacy customers in Cuyahoga and Summit counties (“McCann
                   Dataset”). 6,7 At a high level, each of McCann’s methods uses a different formulaic method
                   to identify (or “flag”) shipments that meet predetermined criteria. I understand that the
                   analysis presented in the McCann Report has been used to suggest that the flagged
                   shipments should have been reported to the United States Drug Enforcement Agency
                   (“DEA”) for further investigation as part of Cardinal’s responsibilities as a distributor to
                   “design and operate a system” to identify “suspicious orders of controlled substances.” 8
                   McCann does not comment or opine on the sufficiency of any system used by Cardinal to
                   flag or investigate shipments, but he assumes that Cardinal has not effectively investigated
                   any flagged transaction. 9

           18.     I am not aware that any method described in the McCann Report has been formally
                   endorsed by statute, the DEA, the Food and Drug Administration (“FDA”), or any other
                   regulatory body as an acceptable methodology to identify suspicious orders of controlled
                   substances that require disclosure to DEA in order to meet the statutory obligations of 21

5
    “ARCOS” refers to the automated, comprehensive drug reporting system which monitors the flow of DEA
    controlled substances from their point of manufacture through commercial distribution channels to point of sale
    or distribution at the retail level. The system was developed by DEA and is maintained by the Department of
    Justice Data Center and the DEA Data Center.
6
    In addition to describing his various methods for flagging shipments, the McCann Report also includes a
    description of how he validated and corrected transaction data produced in this case, namely transaction data
    produced by the DEA (DEA Retail Drug Summary Reports and ARCOS data) and by defendants. I have not
    independently verified that these datasets are complete and reliable; however, for the purpose of my analysis
    presented herein, I do not dispute the use of these datasets.
7
    McCann excludes transactions involving two treatment drugs: buprenorphine and methadone.
8
    21 C.F.R. § 1301.74(b) (“The registrant shall design and operate a system to disclose to the registrant suspicious
    orders of controlled substances. The registrant shall inform the Field Division Office of the Administration in his
    area of suspicious orders when discovered by the registrant. Suspicious orders include orders of unusual size,
    orders deviating substantially from a normal pattern, and orders of unusual frequency.”).
9
    McCann Report, ¶¶ 132, 136, 140, 144, 148.



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                 C.F.R. § 1301.74(b). Indeed, the DEA has stated that “DEA does not endorse or approve
                 of any specific system or approach implemented by DEA registrants to satisfy their
                 obligations under 21 C.F.R. § 1301.74(b) or 21 U.S.C. § 821(b)(1).” 10

         19.     Deposition testimony given by DEA witnesses in this matter, as well as sworn testimony
                 from DEA personnel in other proceedings, shows that (1) neither the Controlled Substances
                 Act (“CSA”) nor its implementing regulations establish a methodology for identifying
                 suspicious orders; (2) DEA personnel responsible for creating and implementing DEA’s
                 policies relative to suspicious orders specifically refused, when asked, to specify a
                 methodology that wholesale distributors and other registrants should use to identify
                 suspicious orders; and (3) that the basis for that refusal was the belief within DEA that
                 wholesale distributors and other registrants had a responsibility to define their own metrics
                 for identifying suspicious orders based upon their knowledge of the legitimate needs of
                 their customers. 11

         20.     I understand from the reports of Plaintiffs’ experts Rafalski, Cutler, and McGuire that it is
                 suggested Cardinal should have or could have used one or more of McCann’s
                 methodologies to flag suspicious orders. For the reasons stated in this report, I disagree that
                 any of these retrospective analyses properly identifies suspicious orders of controlled
                 substances or would be useful to identify suspicious orders in Cardinal’s system. Rafalski,
                 McGuire, and Cutler identify no evidence that any one or more of McCann’s methods that
                 they endorse or rely upon was required instead of the methodologies Cardinal actually
                 employed. DEA personnel have indicated that no one method in particular was (or is)
                 required, much less that any of McCann’s methods in particular were required. The
                 methodologies endorsed and relied upon by Plaintiffs’ experts are deficient in that they do
                 not account for customer-specific factors that the DEA has suggested Cardinal and other
                 registrants take into account, and because they result in the identification of hundreds of
                 thousands of shipments as “suspicious” they do not hold up under further scrutiny.




10
     McKesson Settlement Memorandum of Agreement, dated January 17, 2017.
11
     Congressional Statement of Joseph Rannazzisi 3-1-2012, p. 93-4.


                                                       7
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         B.       Opioids and the Controlled Substances Act

         21.      The CSA, which was enacted in 1970, identified drugs that were determined to have a
                  useful and legitimate medical purpose but that concern of illegal importation, manufacture,
                  distribution, and improper use have the potential for a detrimental effect on the heath and
                  general welfare of the population. 12 The CSA established federal control of the traffic of
                  the drugs included in the identified list of substances.

         22.      Five drug schedules were established as part of the CSA, and part of the regulation required
                  that any provider that prescribed or pharmacist that filled any of these substances must
                  obtain a license from the DEA to allow tracking of controlled substance prescriptions to a
                  particular provider or distributor.

         23.      The schedules of product range from Schedule I (most potential for addiction or use
                  disorder) to Schedule V (least potential for addiction or use disorder), and DEA, in
                  conjunction with recommendations by U.S. Department of Health and Human Services
                  (HHS), makes the final determination for how a product should be controlled. 13 McCann’s
                  report focuses on 12 different opioid 14 drug products that are all identified as Schedule II 15
                  products for at least part of the time period he analyzed.

         24.      The amount of Schedule I 16 and II products that can be manufactured per year is governed
                  by the Aggregate Production Quota (APQ) that is set annually by the DEA. 17 The APQ
                  reflects the annual quantities “to provide for the estimated medical, scientific, research, and
                  industrial needs of the United States, for lawful export requirements, and for the



12
     21 U.S.C. § 801.
13
     21 U.S.C. § 811(b), 812.
14
     U.S. Department of Health and Human Services defines opioids as a "class of drugs that include the illegal drug
     heroin, synthetic opioids such as fentanyl, and pain relievers available legally by prescription, such as oxycodone
     (OxyContin®), hydrocodone (Vicodin®), codeine, morphine, and many others.", found at
     https://www.hhs.gov/opioids/prevention/index.html, last accessed 5/9/2019.
15
     21 U.S.C. § 812(b). Schedule II are products that have a high potential for abuse which may lead to severe
     psychological or physical dependence.
16
     21 U.S.C. § 812(b). Schedule I products are those that have no currently accepted medical use and a high potential
     for abuse. Some examples of Schedule I products include heroin, ecstasy, and peyote.
17
     21 U.S.C. § 826 requires the Attorney General to set APQs for products listed in Schedules I and II. The Attorney
     General delegated this function to the DEA under 28 C.F.R. § 0.100.



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                 establishment and maintenance of reserve stocks.” 18 The DEA assigns individual
                 production quotas to controlled substance manufacturers in order to prevent the APQ from
                 being exceeded. 19 A manufacturer may not manufacture a Schedule I or II product that is
                 not expressly authorized by its registration and by the individual quota assigned to it by the
                 DEA, or in excess of that quota. 20 I analyze the historical APQ amounts within this report.

                 1. Rescheduling of Hydrocodone Combination Products

         25.     One of the substances included in McCann’s Report is hydrocodone, which includes
                 products such as Vicodin® (hydrocodone in combination with acetaminophen). In 2009,
                 DEA requested a recommendation from HHS concerning whether to reschedule all
                 hydrocodone combination products from Schedule III to Schedule II. 21 Conforming to
                 HHS’s recommendation, in 2014, DEA published a final rule that administratively
                 rescheduled hydrocodone combination products from Schedule III to Schedule II.

                 2. Special Storage and Prescription Requirements for Schedule II Products

         26.     I understand that requirements exist for prescriptions related to Schedule II products that
                 differ from other scheduled and non-scheduled products. The following is not an
                 exhaustive list of specialized regulations for Schedule II products; however, these
                 differences are relevant to later sections of my report.

         27.     I understand that distributors are required to store Schedule II-V products in electronically
                 monitored safes, steel cabinets, or vaults that meet or exceed certain specifications.22
                 Pharmacies must store controlled substances in a “securely locked, substantially
                 constructed cabinet” and must notify the DEA of the theft or significant loss of any




18
     21 U.S.C. § 826(a)(1). Schedule I products may only be used for research, as they have no accepted medical
     purpose in the United States.
19
     21 U.S.C. § 826(b).
20
     21 U.S.C. § 842(b).
21
     Drug Enforcement Administration, Schedules of Controlled Substances: Rescheduling of Hydrocodone
     Combination Products from Schedule III to Schedule II, 79 Fed. Reg. 49,661, 49,662 (Aug. 22, 2014).
22
     21 C.F.R. § 1301.72.



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                  controlled substances. 23 Schedule II-V products may alternatively be stored among other
                  prescription drugs. 24

         28.      I understand that DEA has certain additional requirements for dispensing of a Schedule II
                  product in comparison to Schedule III – IV and non-scheduled prescription products. 25
                  Schedule II products may not be dispensed to a patient by a pharmacist without a written
                  prescription from a practitioner (except in cases where the practitioner directly administers
                  the controlled substance to the patient or emergency situations). 26 Schedule III-V products
                  may be dispensed by a pharmacy pursuant to either a written or oral prescription, including
                  a facsimile of a written prescription, or by electronic prescription assuming that the
                  electronic prescription complies with the detailed requirements set forth in the applicable
                  federal regulations. 27

         29.      All controlled substance prescriptions must be dated as of the date of issuance; in other
                  words, a prescriber may not predate or postdate prescriptions. In addition to the date of
                  issuance, all controlled substance prescriptions must contain at least the following
                  information: the full name and address of the patient; the name, address, and registration
                  number of the practitioner; the drug name, strength, and dosage form; the quantity
                  prescribed, and directions for use. 28 Before filling the prescription in the pharmacy,
                  regulations also require the prescription to contain the written or typewritten name or
                  initials of the pharmacist dispensing the drug, the date dispensed, and the number of units
                  or volume dispensed. 29



23
     21 C.F.R. § 1301.75(b).
24
     21 C.F.R. § 1301.75(b).
25
     I understand that certain states may have requirements in addition to DEA requirements for the dispensing of
     Schedule II products. However, Plaintiffs’ proposed experts have not identified any material differences between
     those requirements and the ones imposed under the CSA and associated regulations. For the purposes of this
     report, I refer only to the federal requirements and their interpretation by DEA.
26
     21 U.S.C. § 829(a); 21 C.F.R. § 1306.05, 1306.11(b). The DEA has provided for a few special exceptions that
     allow for an electronic prescription for a Schedule II product. See, for example, 21 C.F.R. § 1306.11(e) (permitting
     a faxed Schedule II product prescription if the Scheduled II product is to be compounded for the direct
     administration to a patient, such as by parenteral or intravenous infusion).
27
     21 U.S.C. § 829(b); Drug Enforcement Administration, Electronic Prescriptions for Controlled Substances, 75
     Fed. Reg. 16235, 16316 (Mar. 31, 2010).
28
     21 C.F.R. § 1306.05(a).
29
     21 C.F.R. § 1304.22(c).



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         30.     I also understand that there is a difference in the inventory requirements for Schedule II
                 and Schedule III-V products. It is required that there is a complete and accurate record of
                 all controlled substances on hand and that such inventory must be determined by an actual
                 physical count for Schedule II products and an estimated count or measure of the contents
                 of a Schedule III, IV, or V products (unless the container holds more than 1,000 tablets or
                 capsules in which case an exact count of the contents must be made). 30 The inventory
                 records of Schedule II products must be kept separate from all other controlled substances.
                 Additionally, I understand from my experience in this industry that many pharmacies,
                 either by state regulation or store policy, require that there is a perpetual inventory with a
                 monthly reconciliation of all Schedule II products. 31

         C.      Role of Distributors

         31.     In general, the supply chain for controlled substances starts with the manufacturer, and
                 products often move from a manufacturer to pharmacies with the help of distributors such
                 as Cardinal. Pharmacies may order from multiple distributors. The usual movement of a
                 controlled substance from a manufacturer to a patient has been described as:
                     [A] controlled substance, after being manufactured by a DEA-registered
                     manufacturer, may be transferred to a DEA-registered distributor for
                     subsequent distribution to a DEA-registered retail pharmacy. After a DEA-
                     registered practitioner, such as a physician or a dentist, issues a prescription
                     for a controlled substance to a patient (i.e., the ultimate user), that patient can
                     fill that prescription at a retail pharmacy to obtain that controlled substance. In
                     this system, the manufacturer, the distributor, the practitioner, and the retail
                     pharmacy are all required to be DEA registrants, or to be exempted from the
                     requirement of registration, to participate in the process. 32

         32.     The following graphic illustrates the movement of a controlled substance as described
                 above. I understand that all parties along the product flow (other than the patient) are DEA
                 registrants and have a responsibility to maintain effective controls against diversion.
                 Further, the interactions between the pharmacy, patient, and doctor are the only points
                 within the product flow where there is an exchange of patient-specific clinical data



30
     21 C.F.R. § 1304.11(e)(3).
31
     FDA Recommends Reclassifying Hydrocodone to Schedule II, found at
     https://www.pharmacytoday.org/article/S1042-0991(15)31070-7/pdf, p73, last accessed May 9, 2019.
32
     DEA, Disposal of Controlled Substances by Persons Not Registered with the Drug Enforcement Administration,
     74 Fed. Reg. 3480, 3481 (January 21, 2009).


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                 regarding the use of the controlled substance. That clinical interaction culminates in a
                 prescription being presented by the patient at the pharmacy, which the pharmacist would
                 fill absent a suspicion that the prescription is going to be diverted into an illicit channel or
                 is fraudulent. In this way, the clinical events starting with the doctor / patient interaction
                 and a prescription that is written drives the supply chain requirements in terms of shipments
                 by the distributor to the pharmacy. 33

Figure 1: Example Product Flow for Controlled Substances through Distributor and Retail
Pharmacy Channel




         33.     The DEA has acknowledged that physician prescriptions for controlled substances are
                 generally not fraudulent, stating, “DEA recognizes that the overwhelming majority of
                 American physicians who prescribe controlled substances do so for legitimate medical
                 purposes” and “only a tiny fraction of physicians (less than one in ten thousand) lost their
                 registration based on a DEA investigation of improper prescribing of controlled
                 substances.” 34




33
     Follow the Pill: Understanding the U.S. Commercial Pharmaceutical Supply Chain, p4. Available at
     https://avalere.com/research/docs/Follow_the_Pill.pdf. (Accessed 5/9/2019)
34
     2006 DEA Notice re Dispensing Controlled Substances for the Treatment of Pain,
     https://www.deadiversion.usdoj.gov/fed_regs/notices/2006/fr09062.htm, Federal Register: September 6, 2006
     (Volume 71, Number 172)] [Notices] [Page 52715-52723].



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         34.     All DEA-registered manufacturers and distributors are required to: “design and operate a
                 system to disclose to the registrant suspicious orders of controlled substances. The
                 registrant shall inform the Field Division Office of the Administration in his area of
                 suspicious orders when discovered by the registrant. Suspicious orders include orders of
                 unusual size, orders deviating substantially from a normal pattern, and orders of unusual
                 frequency.” 35

         35.     A distributor of Schedule II products may maintain controlled substance registration unless
                 the Attorney General (whose authority is delegated to DEA) determines that the issuance
                 of such registration is inconsistent with the public interest. The following factors shall be
                 considered to determine public interest: 36

                      a) Maintenance of effective control against diversion of particular controlled
                          substances into other than legitimate medical, scientific, and industrial channels;

                      b) Compliance with applicable state and local law;

                      c) Prior conviction record of applicant under federal or state laws relating to the
                          manufacture, distribution, or dispensing of such substances;

                      d) Past experience in the distribution of controlled substances; and

                      e) Such other factors as may be relevant to and consistent with the public health and
                          safety.

         36.     The DEA has explained that the term “diversion,” used in the context of the CSA, refers to
                 “the redirection of controlled substances which may have lawful uses into illicit
                 channels.” 37




35
     21 C.F.R. § 1301.74.
36
     21 C.F.R. § 823(b).
37
     Drug Enforcement Administration, Controlled Substances Quotas, 83 Fed. Reg. 32,784 (July 16, 2018).



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         D.      Role of Pharmacy

         37.     Only a pharmacist who is acting in the usual course of professional practice and who either
                 is registered individually or is employed by a registered pharmacy or other registered entity
                 may fill a prescription for a controlled substance.38 A pharmacist is defined as a person
                 licensed by a state to dispense controlled substances as well as any other person (e.g.,
                 pharmacist intern) authorized to dispense controlled substances under the supervision of a
                 pharmacist. 39

         38.     A pharmacy in the practice of dispensing Schedule II-V products 40 must register with the
                 DEA as a dispenser using DEA Form 224. This is a different DEA form than the form
                 required for manufacturers and distributors to register with the DEA. 41

         39.     The purpose of a controlled substance prescription is described in the federal regulations
                 as:
                       A prescription for a controlled substance to be effective must be issued for a
                       legitimate medical purpose by an individual practitioner acting in the usual
                       course of his professional practice. The responsibility for the proper prescribing
                       and dispensing of controlled substances is upon the prescribing practitioner, but
                       a corresponding responsibility rests with the pharmacist who fills the
                       prescription. An order purporting to be a prescription issued not in the usual
                       course of professional treatment or in legitimate and authorize research is not a
                       prescription within the meaning and intent of Section 309 of the Act (21 U.S.C.
                       § 829) and the person knowingly filling such a purported prescription, as well as
                       the person issuing it, shall be subject to the penalties provided for violations of
                       the provisions of law relating to controlled substances. 42

         40.     To help pharmacists ensure that controlled substance prescriptions are being issued for a
                 legitimate medical purpose, the DEA published a guide, A Pharmacist’s Guide to
                 Prescription Fraud. 43


38
     21 C.F.R. § 1306.06.
39
     Pharmacist's Manual Appendix B, found at
     https://www.deadiversion.usdoj.gov/pubs/manuals/pharm2/appendix/appdx_b.htm, last accessed 5/9/2019.
40
     21 C.F.R. § 1301.13(e).
41
     Manufacturers and distributors register with the DEA by completing DEA Form 225.
42
     21 C.F.R. § 1306.04(a).
43
     A Pharmacist’s Guide to Prescription Fraud, Appendix D to The Pharmacist’s Manual: An Informational
     Outline of the Controlled Substances Act (revised 2010), found at
     https://www.deadiversion.usdoj.gov/pubs/manuals/pharm2/pharm_manual.pdf, last accessed May 4, 2019.



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         E.      Factors Influencing the Volume of Prescriptions Filled by a Pharmacy

         41.     The volume of prescriptions, including the volume of controlled substances, filled by a
                 pharmacy varies widely from pharmacy to pharmacy. A 2012 Drug Store News survey
                 found that 94% of customers choose their primary pharmacy based on location and
                 convenience. 44 Other factors such as customer service, speed of filling prescriptions, cost,
                 and hours of operation will impact pharmacy choice and the customer demand for a
                 particular pharmacy. 45

         42.     It is well recognized that pharmacies with a hospital or relevant clinic affiliation may have
                 an increased volume of controlled substance prescriptions when compared to other
                 similarly situated pharmacies.46 This is largely due to the patient population that the
                 hospital and clinics are serving, a population that includes trauma patients or patients who
                 have recently undergone surgery.

         43.     Other recognized factors affecting the volume of controlled substances dispensed by a
                 pharmacy are: type(s) of patient population served; variation in geographical or regional
                 prescribing patterns that may affect which products are prescribed; and, any specialty
                 practice within the pharmacy. 47

         44.     It is well recognized that opioid prescribing trends have changed over the past two decades.
                 The medical community shifted patient assessment and treatment to counteract what was
                 viewed as an inadequate focus on pain assessment and treatment. Pain became recognized
                 as the fifth vital sign and “the evolution of patient satisfaction surveys that include a focus
                 on the extent to which a patient’s pain is relieved, created a practice environment that,
                 although intended to promote pain assessment and effective treatment, in general
                 ultimately led to an increase in opioid prescriptions.” 48 Organizations like the Federation

44
     Drug Store News, How consumers choose a primary pharmacy, found at
     https://www.drugstorenews.com/pharmacy/how-consumers-choose-primary-pharmacy/, last accessed on May 8,
     2019.
45
     Ibid.
46
     Consensus Document, Stakeholders’ Challenges and Red Flag Warning Signs Related to Prescribing and
     Dispensing Controlled Substances, found at https://nabp.pharmacy/wp-content/uploads/2016/07/Red-Flags-
     Controlled-Substances-03-2015.pdf, last accessed May 8, 2019.
47
     Ibid.
48
     Ibid.



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                  of State Medical Boards encouraged state medical boards to adopt policies that would
                  ensure patients received adequate pain relief and maintain patient access to appropriate
                  pain management, including opioids for the treatment of chronic pain. 49 This prescribing
                  trend was fueled by competing interests such as: under treatment of cancer pain, treating
                  chronic non-cancer pain, the introduction of several new opioid products, and inadequate
                  non-pharmacologic approaches for treatment of pain. These market factors contributed to
                  the “routine use of opioid analgesics.” 50

         F.       Overview of Suspicious Order Monitoring Systems and Anti-Diversion Program
                  (“ADP”)

         45.      As discussed above, 21 C.F.R. § 1301.74(b) requires that a registrant design and operate a
                  system “to disclose to the registrant suspicious orders of controlled substances” and
                  suspicious orders include orders of unusual size, pattern, or frequency. Additionally, 21
                  C.F.R. § 1301.71(a) also requires that there are effective controls and procedures to guard
                  against theft and diversion of controlled substances.

         46.      The only due diligence requirement set forth in the DEA’s regulations is found in 21 C.F.R.
                  § 1301.74(a) and requires that:
                          Before distributing a controlled substance to any person who the registrant
                          does not know to be registered to possess the controlled substance, the
                          registrant shall make a good faith inquiry either with the Administration
                          or with the appropriate State controlled substances registration agency, if
                          any, to determine that the person is registered to possess the controlled
                          substance.

         47.      DEA has been criticized for failing to provide guidance on the suspicious order monitoring
                  regulation, 21 C.F.R. § 1301.74(b).




49
     Model Policy on the Use of Opioid Analgesics in the Treatment of Chronic Pain, Federation of State Medical
     Boards (https://www.umhealthpartners.com/wp-content/uploads/2016/10/ChronicPainManagement.pdf,
     accessed May 9, 2019).
50
     Ibid.



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         48.      Over the years, DEA has primarily set forth its view of the regulation in presentations at
                  conferences, through Memoranda of Agreement (“MOA”) related to enforcement actions
                  and in litigation positions such as the DEA’s position in the 2017 Masters case. 51

         49.      As recently as 2018, the need for DEA to clarify the regulations has been expressed. The
                  2018 Unified Agenda 52 states: “The Drug Enforcement Administration is proposing to
                  revise its regulations relating to suspicious orders of controlled substances. The proposed
                  rule defines the term suspicious order and specifies the procedures a registrant must follow
                  upon receiving such orders.” 53




51
     Masters Pharmaceuticals, Inc. Decision and Order, 80 Fed. Reg. 55477 (September 15, 2015).
52
     The Unified Agenda of Regulatory and Deregulatory Actions (Unified Agenda), publishes in the fall and spring,
     and describes regulatory actions as they are developing.
53
     Suspicious Orders of Controlled Substances Fall 2018 RIN: 1117-AB47.


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     IV.         SUMMARY OF MCCANN’S ANALYSIS

           50.     Each of McCann’s methods fails to identify suspicious orders of controlled substances.
                   Distributors licensed under the DEA as part of the chain of distribution of controlled
                   substances are required to design and operate a system that would identify suspicious
                   orders of controlled substances such that they can be reported to the DEA. The Code of
                   Federal Regulations (“C.F.R.”) defines suspicious orders as being orders of (1) unusual
                   size; (2) orders that deviate from a normal pattern, or (3) orders of unusual frequency. 54
                   McCann’s methods are not well-conceived to flag orders fitting any of those criteria.

           51.     While the regulations require identification of suspicious orders, they do not prescribe a
                   specific approach for identifying these orders. Thus, there is no objectively verifiable
                   definition of what constitutes an “unusual” order in terms of size, pattern, or frequency.
                   Likewise, testimony and other evidence shows that the DEA has not provided commentary
                   to distributors on the metrics they should use to identify suspicious orders, believing that
                   it was necessary for distributors to define those metrics for themselves. 55 Nevertheless, and
                   despite not providing such up front guidance to distributors, Plaintiff’s expert Rafalski’s
                   report points to an administrative proceeding in which the DEA took the position that a
                   registrant (in this case, a manufacturer) might evaluate its customers based on, among other
                   things, the “percentage of control substances ordered when compared to non-controlled
                   substances.” 56 In that proceeding, the DEA asserted that a ratio of up to 20% controlled
                   substances was consistent with what a “typical retail pharmacy” would order. Although I
                   do not endorse any of Rafalski’s opinions on this subject, this 20% figure provides a
                   measure against which McCann’s analysis can be evaluated, i.e., by allowing us to see the
                   extent to which his methods result in classifying as “unusual” the orders of pharmacies that
                   are in fact “typical” according to a measure that the DEA and Plaintiffs’ proposed DEA
                   expert (Rafalski) have endorsed.57


54
     21 C.F.R. § 1301.74.
55
     Deposition of Rannazzisi, 4/26/2019, 42:17-46:7; 2015 GAO Report titled “Prescription Drugs: More DEA
     Information about Registrants' Controlled Substances Roles Could Improve Their Understanding and Help Ensure
     Access”, p. 26-27, 45.
56
     Rafalski, p.19, citing Southwood Pharm., Inc., 72 Fed. Reg. 36,487, 36,501 (Drug Enf’t Admin. July 3, 2007).
57
     To be clear, variance from that figure would not, in my opinion, constitute an adequate basis to make an
     affirmative determination that a particular order is suspicious, or a basis on which a suspicious order monitoring



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         52.      McCann to systematically applies five different methods and related assumptions to flag
                  shipments of the 12 opioids 58 that meet criteria he defined as a methodology to identify
                  “transactions that warrant some further due diligence.” 59 Plaintiffs’ expert Rafalski
                  indicates that at least one of McCann’s methods (his six-month trailing method, described
                  further below) meets the portion of the DEA definition of a suspicious order in that it
                  “provides…an initial trigger and first step to identify orders of unusual size.” 60 I will refer
                  generally to the orders identified by McCann as suspicious orders / orders of unusual size
                  as orders that McCann has “flagged.”

         53.      Each of McCann’s five methodologies is described below along with the percentage of
                  total Cardinal dosage units, orders and customers he flags for the years 2006-2017.




     system could be designed. My purpose in using that figure here is solely as a reference point against which to
     assess the adequacy of the various methodologies put forward by McCann.
58
     The opioids included are: hydrocodone, oxycodone, morphine, codeine, hydromorphone, fentanyl, oxymorphone,
     tapentadol, meperidine, dihydrocodeine, levorphanol, opium (powdered).
59
     It does not appear that McCann provides an opinion on how any one or more of these methods could or should
     have been used by Cardinal to identify suspicious orders. However, other Plaintiffs’ experts in this matter refer
     to his six-month trailing method as the model they rely upon to identify suspicious orders of opioids. See, for
     example, Rafalski, p. 11; Cutler, Appendix III.J; McGuire, p. 9-11. While my report provides an analysis of all 5
     methodologies included in McCann’s report, I provide a more detailed review of the six-month trailing method
     due to the weight it has been given by other experts. To the extent McCann or other experts later identify or
     elaborate on a different methodology, I reserve the right to provide additional information and analysis regarding
     the identified methodology.
60
     Rafalski, p. 46.


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Table 1: McCann Methodologies and Percentage Flagged for Cardinal 61
                                                                                      % Dosage      %          %
     McCann Method                   McCann Method Description                         Units     Orders    Customers
                                                                                      Flagged    Flagged    Flagged
 Maximum Monthly,         Transactions that cause the number of dosage units
 Trailing Six-month       shipped by a Distributor to a Pharmacy in a calendar
 Threshold                month to exceed the highest number of dosage units
                          shipped by the Distributor to the Pharmacy in any one of
 (“six-month              the six preceding calendar months.
 trailing”)
                          Every subsequent transaction of that drug code is also
                          flagged.

 Twice Trailing           Transactions that cause the number of dosage units
 Twelve-Month             shipped by a Distributor to a Pharmacy in a calendar
 Average Pharmacy         month to exceed twice the trailing twelve-month average
 Dosage Units             dosage units to retail and chain pharmacies served by the
                          Distributor.
 (“two times trailing
 twelve-month”)           Every subsequent transaction of that drug code is also
                          flagged.

 Three Times Trailing     Transactions that cause the number of dosage units
 Twelve-Month             shipped by a Distributor to a Pharmacy in a calendar
 Average Pharmacy         month to exceed three times the trailing twelve-month
 Dosage Units             average dosage units to retail and chain pharmacies
                          served by the Distributor.
 (“three times
 trailing twelve-         Every subsequent transaction of that drug code is also
 month”)                  flagged.

 Maximum 8,000            Transactions that cause the number of dosage units
 Dosage Units             shipped by a Distributor to a Pharmacy in a calendar
 Monthly                  month to exceed 8,000 dosage units.

 (“8,000 monthly          Every subsequent transaction of that drug code is also
 maximum”)                flagged.

 Maximum Daily            Transactions that cause the number of dosage units
 Dosage Units             shipped by a Distributor to a Pharmacy in a day to exceed
                          a number of dosage units that varies by drug type and
 (“maximum daily          within some drug types by formulation.
 dosage units”)
                          Every subsequent transaction of that drug code is also
                          flagged.




61
     McCann Report, ¶¶ 131, 136, 140, 144, 148; McCann Dataset.


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        54.     McCann applies each of the methods above to a dataset he created (McCann Dataset) that
                combines data produced by the DEA and Cardinal (and other distributor) distribution
                data. 62 When a transaction meets the criteria set by McCann, the shipment is flagged. After
                a shipment has been flagged, McCann assumes (without basis) that Cardinal performed no
                due diligence prior to (or after) the shipment and uses that as a rationale to flag all
                subsequent shipments of the same product to that customer. 63 McCann states that he made
                this assumption at the direction of counsel. 64 As discussed below, this assumption accounts
                for a majority of the orders McCann flags in his report.

        55.     As a threshold matter, McCann identifies no basis for the assertion that these specific
                methods, to the exclusion of other methods, were required of Cardinal to identify
                suspicious orders. He merely assumes that these are necessary or proper methods. That
                assumption in turn is the driving force behind his further explicit assumption, made at the
                direction of counsel, that for any order “flagged” through one of his methods, “the
                Distributor did not effectively investigate the flagged transactions and so every subsequent
                transaction of that drug code is also flagged because the Distributor had an unfulfilled
                obligation to detect and investigate the first flagged transaction.” 65 McCann’s analysis is
                circular and lacks a solid analytical foundational in several critical ways.

        56.     First, McCann does not provide a basis for the assumption that if a particular “flagged”
                shipment was not investigated by a distributor, all subsequent shipments inherently
                constitute “suspicious” orders. That assumption is inconsistent with the definition of a
                suspicious order as constituting orders of unusual size, pattern, or frequency. The absence
                of an investigation into an order that was “flagged” for some reason or another would not
                automatically make subsequent orders unusual in their size, pattern, or frequency.
                Subsequent orders might be of lesser sizes, lower frequency, or different patterns than the
                one that was “flagged” and thus would not constitute suspicious orders when viewed on
                their own merits.




62
     CAH_MDL2804_03263593 (“Cardinal Opioid Distribution Data”)
63
     McCann Report, ¶¶ 132, 136, 140, 144, 148.
64
     Ibid.
65
     Ibid.


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         57.      To illustrate this point, consider a sequence of ten orders, only one of which exhibits an
                  unusual size, frequency and/or pattern sufficient to trigger a particular methodology. If the
                  flagged transaction occurs first in the sequence of ten orders, then McCann’s approach
                  would result in all ten orders being flagged as “suspicious” – the first based on the
                  characteristics of the order, and the other nine solely because they came after that order.
                  Had the sequence been reversed – with the “flagged” transaction occurring last – McCann’s
                  methodology would result in identifying only one of the ten orders (the last one) as
                  suspicious based on the characteristics of that order. If it occurred somewhere in the
                  middle, the number of “suspicious” orders would range from two through nine, depending
                  solely on the sequence in which the orders occurred.

         58.      As an analytical exercise, McCann’s approach more closely resembles a method of
                  identifying a category of suspicious customers, if a suspicious customer is defined as one
                  that at some point in time placed a single order of unusual size, pattern, or frequency (even
                  if the customer showed no other sign of engaging in diversion). In McCann’s analysis,
                  subsequent orders from that customer are treated as suspicious not because of any
                  characteristic of the order, but because the customer placing the order is inherently
                  suspicious for all of its orders, regardless of their size, pattern, or frequency and regardless
                  of whether the distributor believed the customer posed an unreasonable risk of diversion. I
                  am not aware of any regulations that would indicate that this customer level restriction is
                  required.

         59.      It is my understanding that most suspicious orders reported by registrants are individually
                  small, on the order of one to three bottles per order flagged as suspicious. 66 Further,
                  testimony from a designated representative of the DEA supports that even in the case of
                  pharmacies that were “cut off” by a distributor, DEA anti-diversion personnel regarded
                  those pharmacies as “legitimate” and took steps to avoid discouraging other distributors
                  from fulfilling orders placed by those pharmacies “for legitimate medical purposes.” 67
                  McCann effectively makes the inverse assumption that pharmacies with any prior order


66
     Deposition of Griffin, 1/23/2019, 181:15-182:12.
67
     Deposition of Howard, 4/25/2019, p. 47. One other DEA witness testified that he agreed with the statement that
     after an order had been blocked and reported as suspicious, a registrant “should terminate all future sales to that
     same customer until they can rule out that diversion is occurring.” Prevoznik, 286:3-17 (However, the witness
     did not identify any DEA policy or regulation imposing such a requirement.).


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                  that was flagged as “suspicious” are presumptively illegitimate as a result for all subsequent
                  orders, regardless of the size of the original flagged order, and regardless of the individual
                  characteristics of subsequent orders.

         60.      McCann’s assumption is inconsistent with a standard articulated by Rafalski, who opines
                  based on the Masters decision that “[o]nce a distributor has reported a suspicious order, it
                  must make one of two choices: decline to ship the order or conduct some ‘due diligence’
                  and—if it is able to determine that the order is not likely to be diverted into illegal
                  channels—ship the order (the Shipping Requirement).” 68 I do not offer an opinion on the
                  validity of that assertion by Rafalski. Nevertheless, it can be observed that his standard
                  places the focus on the order that was flagged as suspicious, not on additional orders by
                  the same customer.

         61.      Similarly, McCann’s methodology is circular in the sense that he is assuming that Cardinal
                  (and the other distributors) did not systematically conduct due diligence of orders they did
                  not flag as suspicious but that he has flagged years after-the-fact. Presumably McCann
                  recognizes that because Cardinal was not using the same methods that he now uses, it
                  would not have systematically flagged those orders for further review – and hence would
                  not have conducted additional due diligence since they were not flagged in the first
                  instance. McCann ignores that during the same time periods, Cardinal did flag different
                  orders for review, and he fails to take into account any due diligence Cardinal conducted
                  for orders from the same customers about which he is making this assumption.

         62.      As discussed below, McCann’s methods ultimately identify             of Cardinal’s customers
                  as having at least one “suspicious” order, and all subsequent orders for that customer are
                  identified as suspicious.

         63.      McCann’s methods are improper to the extent he is suggesting that his retrospective
                  methods, none of which were actually employed by Cardinal, can be superimposed as the
                  methodology that Cardinal should have employed for the time period 1996 – 2017. For
                  example, McCann’s six-month trailing method is based on the 2017 Masters matter,
                  concerning a different distributor’s suspicious order monitoring (“SOM”) system, which


68
     Rafalski, p. 9, 10 (emphasis added).


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                 makes it difficult to fathom how it could have been required earlier or why it would be a
                 required system for Cardinal. Multiple DEA deponents have stated that there is (still today)
                 not a standard anti-diversion model that is required of all distributors. Former DEA Deputy
                 Assistant Administrator Joseph Rannazzisi also stated that all that is required of a
                 distributor is to establish an ADP with the ability to identify orders of unusual size, pattern,
                 or frequency, and report them when identified. 69 Further, he said that only the distributor
                 registrant can identify a suspicious order – not even the DEA can – because the registrant
                 knows its customers. Application of McCann’s methods is arbitrary, and an arbitrary
                 method is not appropriate for identification of suspicious orders according to Rannazzisi,
                 who stated, “DEA and our state partners have repeatedly and emphatically informed
                 distributors that arbitrary thresholds are inappropriate, negatively impact legitimate
                 patients, and are an inadequate substitute for fulfilling their obligations under the CSA.” 70
                 Rafalski, McGuire, and Cutler endorse or rely upon McCann’s six-month trailing method
                 results as quantification of suspicious customer orders, but this is an improper application
                 of a method that has no basis to be applied to Cardinal’s historical distribution data.

         64.     Consistent with Rannazzisi’s testimony, the methods identified by McCann are incapable
                 of being “right” in any sense that makes all other methodologies actually employed by
                 distributors “wrong.” At best, they constitute additional methodologies by which, in
                 McCann’s view, a distributor could have undertaken to identify suspicious orders. But that
                 is not a basis on which to say the methodologies actually employed by Cardinal or other
                 distributors were unacceptable. McCann otherwise offers no opinion or analysis regarding
                 the sufficiency of those methods.




69
     Rannazzisi’s 5/29/2015 response to 2015 GAO Report titled “Prescription Drugs: More DEA Information about
     Registrants' Controlled Substances Roles Could Improve Their Understanding and Help Ensure Access”, p77-82
     (https://www.gao.gov/assets/680/671032.pdf, accessed 5/9/2019) (“Rannazzisi Response to 2015 GAO Report”).
70
     Rannazzisi Response to 2015 GAO Report, p77-82.


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     V.         MCCANN’S REPORT INCLUDES MAJOR FLAWS THAT RENDER HIS
                RESULTS UNRELIABLE

          65.     McCann’s Report describes three broad areas of work he performed at the request of
                  counsel. The first area of work consisted of aggregating, reconciling and commenting on
                  the overall completeness and validity of a synthesized dataset purported to represent,
                  among other things, a complete record of all opioid shipments by Cardinal (and other
                  distributors) to retail pharmacies in Summit and Cuyahoga counties during the period 1996
                  through May 2018. His second area of work involved running monthly patterns of opioid
                  shipments by distributor and by retail pharmacy for twelve specific opiate related products
                  through five distinct methods he designed to identify or “flag” orders that Rafalski
                  concludes were shipped despite being suspicious. The final area of work involved
                  comparing the proportion of orders identified as suspicious by any of his methods to the
                  proportion of overall distributions in the state of Ohio that he deems to be “excessive”
                  based on a separate analysis of aggregate ARCOS report data. McCann indicates this
                  comparison is intended to test the reasonableness of the magnitude of shipments his
                  methods identify as suspicious.

          66.     I have replicated each of the work areas described in McCann’s report. I have identified
                  some technical flaws in the work he did to create the synthesized data set and in his
                  analysis; however, for the purposes of my analysis and in light of the major flaws in his
                  approach, I have not addressed these technical flaws in this report. 71

          67.     I have identified major flaws in McCann’s approach to identify individual retail pharmacy
                  shipments that he deems suspicious. As noted above, pharmaceutical distributors of
                  controlled substances are required to design and implement a SOM system. McCann uses
                  five distinct methods to flag orders that exceed set volume thresholds, but McCann does
                  not describe if or when one method would be more useful than another method. However,
                  Plaintiffs’ expert Rafalski identifies McCann’s six-month trailing method as providing a
                  “reasonable estimate and an initial trigger and first step in identifying orders of unusual

71
     As of this report being submitted, I have not had a chance to review and incorporate any information from
     McCann’s deposition, and I reserve the right to supplement my opinions including regarding his technical flaws
     as additional information becomes available.



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                  size” 72 and Cutler and McGuire rely upon that same method for their calculations related
                  to the portion alleged harm to the Plaintiffs and damages calculations, respectively.

         68.      Cutler relies upon McCann’s six-month trailing method results as the basis for his estimate
                  of the “share of harm” related to opioid use or abuse “potentially attributable to
                  distributors” based on McCann’s estimate of the share of excessive shipments that
                  distributors fail to identify. 73 Cutler relies blindly on the McCann analysis 74 and uses the
                  percentages to calculate harm caused by the distributor defendants. Therefore, the errors in
                  McCann’s approach with respect to Cardinal’s opioid shipments have a significant
                  downstream impact since Cutler uses those results to calculate the alleged harm to Plaintiffs
                  in this matter. Cutler’s results are then further used in McGuire’s attempt to calculate
                  alleged damages. 75 As described herein, Cutler and McGuire are relying upon a
                  methodology that is wholly unreliable for the purpose of identifying suspicious orders.

         69.      Due to Plaintiffs’ particular reliance on McCann’s six-month trailing method, I will address
                  that method first. Under this method, for each of the twelve opioid products addressed in
                  his report, McCann flags all monthly shipment totals for each unique combination of
                  distributor and retail pharmacy that exceed the maximum monthly shipments for that
                  distributor/pharmacy combination from the preceding six months. Once one month’s
                  shipments for a particular drug/distributor/pharmacy combination is flagged, all
                  subsequent orders are flagged as well. As it relates to Cardinal, McCann’s use of this
                  method results in          of orders,        of retail pharmacy customers, and             of dosage
                  units being flagged as of suspicious. In my opinion, it is not reasonable to assume that
                            of the observed data points in any sequence of numbers represent “unusual” or
                  “atypical” events.

         70.      McCann’s identification under his six-month trailing method is flawed because it is
                  inherently prone to flag a similarly large percentage of almost any numerical sequence to

72
    See for example, Rafalski, p. 46. Rafalski indicates that he understands the results of the six-month trailing method
    will be used by another of Plaintiffs’ experts to “measure the harm caused by this volume.” As of the date of this
    report, only Cutler and McGuire have relied on the six-month trailing method. To the extent other of Plaintiffs’
    experts rely on the six-month trailing method, I reserve the right to supplement this report.
73
    Cutler Report, Appendix III.J, paragraph 4.
74
    Cutler deposition, p. 594 (“Q: Have you looked at Mr. McCann’s report? A: I have not looked at Mr. McCann’s
report.”).
75
    McGuire Report, ¶ 72.


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                  which it is applied. The larger the number of possible outcomes for any one data point in a
                  six-point data sequence, the higher the likelihood that the seventh data point in the series
                  exceeds the maximum level of the preceding six data points in the series. For example,
                  assume it is reasonable to expect that a particular pharmacy could “legitimately” order
                  between 101 and 125 units of a particular opioid in any given month during a 250-month
                  period. On average, the trailing six-month maximum method would be triggered between
                  the 12th and 13th month of the 250-month period and would flag on average 96% of the
                  total units, despite the fact that every order fell within the assumed reasonable range of 101
                  to 125 units. 76 Similarly, say the number of legitimate outcomes is reduced to 6 (e.g., the
                  roll of a dice). On average the method would be triggered on the 16th or 17th roll of the dice
                  and would flag 94% of the total units in a sequence of 250 dice rolls. 77 It is completely
                  unreasonable to assume that 94% to 96% of the data points in any population are unusual
                  or atypical. It is much more likely that the method being applied is not taking into account
                  meaningful factors that contextualize the data points. McCann’s method clearly creates the
                  mistaken impression that a normal random distribution of expected outcomes represents
                  excessive volumes, and he would like the reader to believe that these purported excessive
                  volumes are representative of diversion into illicit drug channels.

         71.      If one introduces volume growth to the expected outcomes of the six-month trailing
                  method, the likelihood increases that each passing month will be triggered by the method,
                  as does the overall proportion of volume flagged by the method. So a pharmacy that is
                  growing in general will have a greater tendency for orders to be flagged. Returning to the
                  dice example, if the expected range of legitimate outcomes in month one is assumed to
                  grow by 1% each subsequent month, the method would be triggered on average by roll
                  number 9 or 10 (versus 16 or 17) and would result in more than 99% (versus 94%) of the
                  total units being captured by roll 250.78 As I will demonstrate later in this report, the volume


76
     These results are based on a Microsoft Excel spreadsheet model designed to generate 10,000 random sequences
     of 250 numbers, each between 101 and 125 (inclusive). I then applied McCann’s six-month trailing method to
     each of the 10,000 sequences and determined the overall average.
77
     These results are based on a Microsoft Excel spreadsheet model designed to generate 10,000 random sequences
     of 250 numbers, each between 1 and 6 (inclusive). I then applied McCann’s six-month trailing method to each of
     the 10,000 sequences and determined the overall average.
78
     These results are based on a Microsoft Excel spreadsheet model designed to generate 10,000 random sequences
     of 250 numbers, each between 1 and 6 (inclusive), growing at a rate of 1% per month. I then applied McCann’s
     six-month trailing method to each of the 10,000 sequences and determined the overall average.


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                  of legitimate prescriptions being written for opiate related products by licensed prescribers
                  grew annually during the period 2006 through 2016. McCann’s method fails to consider
                  the effects of demonstrated growth in prescriptions to address a legitimate medical need.

         72.      In addition to normal volume growth, McCann’s six-month trailing method fails to adjust
                  for known and explainable trends or market changes. For example, in the dice scenario, if
                  after the tenth roll one were to replace the standard cube with a cube that contained the
                  values 11 and 16 on each side, the method would automatically be triggered by no later
                  than the 11th roll and would flag, on average, over 99% of the total units. 79 This is due to
                  the fact that the lowest value on the new cube (11) is inherently greater than the highest
                  value on the original cube (6). This is directly relatable to Cardinal’s distribution of
                  hydrocodone, as I will address below.

         73.      To further demonstrate the fact that McCann’s trailing six-month maximum method is
                  destined to flag an overwhelming majority of practically every data sequence to which it
                  is applied, I have applied it to Cardinal’s shipped volume of various non-controlled
                  substance drugs it distributed into Summit and Cuyahoga counties. Specifically, I have run
                  the method for 10 top non-controlled products that Cardinal shipped in high volumes over
                  the time period January 2006 – 2017. See Table 2 for the results by product.




79
     These results are based on a Microsoft Excel spreadsheet model designed to generate 10,000 random sequences
     of 250 numbers, with the first 10 months between 1 and 6 (inclusive) and all subsequent months between 11 and
     16 (inclusive). I then applied McCann’s six-month trailing method to each of the 10,000 sequences and
     determined the overall average.


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Table 2: McCann's Methods Applied to Cardinal’s Distributions of 10 Top Non-Controlled
Substances (2006-2017) 80

                                                                                                 % Flagged - Six-Month
     Ingredient Name                                 Description                                        Trailing
        Oxycodone            Opioid
       Hydrocodone           Opioid
      Levothyroxine          Thyroid Medication, e.g. Synthroid, Tirosint                                       98.6%
        Metoprolol           High Blood Pressure Medication, Beta-Blocker, e.g. Lopressor                       97.7%
         Lisinopril          High Blood Pressure Medication, ACE inhibitor, e.g. Prinivil, Qbr                  97.8%
        Metformin            Anti-Diabetic Medication, e.g. Glucophage, Glumetza                                99.8%
 Polyethylene Glycol 3350    Laxative, e.g. Miralax                                                             92.3%
       Atorvastatin          High Cholesterol Medication, e.g. Lipitor                                          88.9%
   Hydrochlorothiazide       High Blood Pressure / Fluid Retention Medication, e.g. Microzid                    96.1%
         Atenolol            High Blood Pressure Medication, Beta-Blocker, e.g. Tenormin                        96.1%
        Furosemide           Diuretic, e.g. Lasix                                                               94.9%
          Cetirizine         Allergy Medication, e.g. Zyrtec                                                    93.8%



         74.     Across all 10 of these non-controlled products, McCann’s six-month trailing method flags
                 an extremely high percentage of Cardinal’s shipments of each drug, despite the absence of
                 any reasonable expectation that diversion may be affecting the results. That is because there
                 is nothing in the method that is discerning with respect to product diversion or suspicious
                 orders, or really even whether an order is truly of “unusual size.”

         75.     One of the 10 non-controlled products I analyzed is metoprolol, a commonly prescribed
                 beta-blocker that treats high blood pressure, angina, and heart failure. In addition to 97.7%
                 of shipments being flagged, it is interesting to note that metoprolol has a distribution trend
                 very similar to a product McCann did analyze, hydrocodone (see Figure 2 below), and
                 metoprolol would be flagged by McCann’s method in a similar manner. The similarity in
                 distribution patterns between metoprolol and hydrocodone is one more indicator that the
                 shipments flagged are not suspicious orders with respect to size, pattern, or frequency –
                 there is likely something else going on with respect to the ordering patterns.



80
     CAH_MDL2804_00617996, 00617997, 00059301, and 00618000 (“Cardinal Non-Opioid Distribution Data”);
     McCann Dataset; Elsevier Database. Includes pharmacy customers who purchase opioids in the period.
        Elsevier Gold Standard Drug Database ("Elsevier Database") was used to extract NDCs relevant to the
        Non-Controlled Substances used in the analysis (See Appendix B). The Elsevier Database is a public,
        National Council for Prescription Drug Programs (NCPDP)-compliant database including U.S.-approved
        brand and generic prescription drugs, over-the-counter products, herbals, vitamins, and nutritional
        products, medical devices and diagnostic kits.


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Figure 2: Total Hydrocodone and Metoprolol Dosage Units Shipped by Cardinal to Pharmacies
(January 2006-September 2014) 81




         76.      Table 3 presents a comparison of the results of applying McCann’s methodology to the two
                  products and the results are remarkably similar.




81
     Cardinal Non-Opioid Distribution Data; McCann Dataset; Elsevier Database. This analysis is limited to 2006-
     September 2014 so that the comparison is not impacted by the hydrocodone rescheduling in October 2014, which
     corresponds to an increase of hydrocodone distributions by Cardinal when it became the primary distributor of
     hydrocodone for pharmacies such as CVS and Discount Drug Mart. Includes pharmacy customers who purchased
     both hydrocodone and metoprolol in the period.


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Table 3: McCann's Methods Applied to Cardinal Distributions of Hydrocodone and Metoprolol
(2006-September 2014) 82

                                                   Flagged Dosage Units              % Flagged Dosage Units
              McCann Method                     Hydrocodone     Metoprolol         Hydrocodone    Metoprolol
             Six-Month Trailing                                  16,005,970                            97.5%
      Two Times Trailing Twelve-Month                            13,802,670                            84.1%
     Three Times Trailing Twelve-Month                           12,155,990                            74.1%
          8,000 Monthly Maximum                                   9,813,640                            59.8%
               Any McCann Method                                    16,288,480                              99.2%


         77.      Rather than identifying any meaningful correlations between Cardinal’s drug distribution
                  patterns and potential instances of drug diversion, McCann’s six-month trailing method
                  describes the expected outcomes of nearly every sequence of data values, with a tendency
                  to deliver skewed results when average expected values are growing. McCann did not look
                  at Cardinal’s opioid shipments at a customer level to test whether there are contextual
                  factors that may explain individual Cardinal customer shipment patterns. I performed
                  several analyses that do so, and those analyses contradict the results of the six-month
                  trailing method as well as his other four methods, which generally fall prey to the same
                  issue of McCann failing to consider customer specific factors in his assessment of
                  Cardinal’s shipments.




82
     Cardinal Non-Opioid Distribution Data; McCann Dataset; Elsevier Database. Analysis has been limited to 2006
     – September 2014 to account for the rescheduling of hydrocodone. Includes pharmacy customers who purchased
     both hydrocodone and metoprolol in the period.


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     VI.         MCCANN’S ANALYSIS IS FLAWED BECAUSE IT FAILS TO
                 INCORPORATE CONTEXTUAL EVALUATION OF CARDINAL’S
                 SHIPMENTS TO ITS CUSTOMERS

           78.     As described above, McCann’s methods, for his six-month trailing method as well as the
                   other four methods he executed, involve identifing transactions that meet certain criteria
                   defined by McCann. This “blunt instrument” analysis includes no contextual analysis to
                   determine if there are other circumstances that should be taken into consideration that may
                   explain the shipment. In my opinion, it is necessary to perform a contextual analysis to
                   look at other factors that may explain whether a transaction is truly unusual.

           79.     When I engage in contextual evaluation of McCann’s customer-level results, I observe
                   numerous factors that assist in evaluating whether a shipment is associated with a
                   “suspicious order.” For each of McCann’s methods, I have performed certain contextual
                   analyses on the shipments flagged by McCann. Based on the results on these analyses,
                   which are described below, I conclude that contextual analyses on shipments flagged under
                   McCain’s method may have demonstrated that the shipments were not necessarily
                   “suspicious orders.”

           80.     The analyses described below are not an exhaustive list of the contextual analyses that
                   could be applied to refine a customer specific analysis like those McCann purports to
                   perform. However, it is clear from the results of the few analyses listed that McCann’s
                   failure to consider these factors has significantly affected the number of shipments flagged
                   in his methods.

           81.     Table 4 summarizes each of the contextual analyses I performed and reports the percentage
                   of shipments that were excessively flagged by McCann’s methods.83




83
     As noted previously, because of Rafalski’s, Cutler’s, and McGuire’s reliance on McCann’s six-month trailing
     method, I have separated out the results for the six-month trailing method from the analysis of how many
     shipments are flagged by any of McCann’s methods.


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      Table 4: Percentage of McCann Flagged Cardinal Dosage Units Affected by Contextual
      Analysis (2006-2017)

                                                               % of McCann’s
                                                                  Six-Month
                                                                                 % of Any Method
     Contextual Analysis              Description              Trailing Method
                                                                                  (Dosage Units)
                                                                (Dosage Units)

    Shipments captured
    by McCann “carry-         Captured because a prior
    forward” rule             shipment violated the criteria
                              (i.e., not based on the
                                                                   94.3%               31.8%
                              shipment itself)

    Hydrocodone
    Rescheduling              Captured because no
                              adjustment for hydrocodone            5.0%               19.2%
                              rescheduling

    Size of Pharmacy
                              Captured despite less than
                              22% of customer’s shipped
                              volume was controlled
                                                                   84.0%               82.3%
                              substances

    Proximity to a
    Hospital                  Captured despite pharmacy
                              being located in close               26.9%               28.3%
                              proximity to a hospital

    Hospital Contractual
    Relationship              Captured despite pharmacy
                              having a 340B relationship            8.6%                8.4%
                              with hospital

    Total Percentage of McCann’s Analysis Affected by
    Contextual Analysis                                            99.6%               95.5%




       A.      Review Each Order as a Stand-Alone Shipment

       82.     As described above, each of McCann’s methods identifies not just shipments above his
               defined threshold for the month being analyzed, but also all subsequent shipments for a




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                    customer after a single flagged shipment. 84 For instance, if a shipment in January 2006
                    exceeded the volume threshold identified by McCann’s method, all subsequent shipments
                    of that drug to the same customer are flagged. This “carry-forward” assumption drives a
                    majority of McCann’s flagged shipments under the six-month trailing method, over 94%
                    of which would fall below his monthly thresholds if evaluated on a monthly basis. 85

           83.      To quantify the effect of this assumption on McCann’s results, I have implemented his
                    methods without the carry-forward assumption (i.e., only identifying the particular
                    shipments that would be above the monthly thresholds). The results indicate that in many
                    cases, McCann is not identifying “orders of unusual size;” rather, he is flagging customers
                    and capturing all of their product shipments after a certain date. For example, the results of
                    the six-month trailing method appear to identify a large number of shipments exceeding
                    the identified threshold, however, when the carry-forward rule is eliminated, even under
                    McCann’s methodology, only about 5% of Cardinal doses shipped would be identified.
                    Table 5 below describes the impact of removing the carry-forward rule for each of
                    McCann’s methods.

Table 5: Comparison of Percentage of Cardinal Transactions Flagged When Removing Carry-
Forward (2006-2017) 86

                                                                                                  % of McCann Flagged
                                           % Flagged - McCann          % Flagged - Remove             Dosage Units
              McCann Method                      Method                   Carry-Forward                 Affected
             Six-Month Trailing                                                                                  94.3%
      Two Times Trailing Twelve-Month                                                                            72.6%
     Three Times Trailing Twelve-Month                                                                           78.3%
          8,000 Monthly Maximum                                                                                  57.8%
        Maximum Daily Dosage Units                                                                               37.4%
           Any McCann Method                                                                                     31.8%



           84.      An issue specific to Cardinal is that the company produced data back to 1996 whereas
                    complete data is not consistently available for other distributors until 2006. Because


84
       “In this approach and the others implemented below I have been asked by Counsel to assume that the Distributor
       did not effectively investigate the flagged transactions and so every subsequent transaction of that drug code is
       also flagged.” McCann Report, ¶¶ 132, 136, 140, 144, 148.
85
       See Table 5.
86
       McCann Dataset.


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                 Cardinal produced data for the longest time period, it is disproportionately affected by
                 McCann’s carry-forward rule. I have analyzed how many of McCann’s flagged shipments
                 were included because of the carry-forward rule being applied to flagged shipments from
                 prior to 2006. Prior to 2006, 5.3% of dosage units flagged by McCann’s six-month trailing
                 method are because of McCann’s carry-forward rule. Adjusting McCann’s methods to start
                 in 2006, and still including his carry-forward rule, results in a lower percentage of doses
                 being identified across all five methods. For example, under the three times trailing twelve-
                 month method, 45.7% of McCann’s analyzed orders would have been flagged from 2006
                 forward compared to 57.6% if 1996 forward is included. Table 6 summarizes the impact
                 of starting McCann’s methods for Cardinal in 1996 versus 2006.

Table 6: Comparison of Percentage Flagged When Applying Methods Starting in 1996 vs 2006 87


                                                       % Dosage Units              % Dosage Units
                                                   Flagged Based on Data       Flagged Based on Data
                 McCann Method                        Beginning in 1996           Beginning in 2006
                Six-Month Trailing                                  92.9%                       87.6%
         Two Times Trailing Twelve-Month                            79.6%                       68.8%
        Three Times Trailing Twelve-Month                           57.6%                       45.7%
             8,000 Monthly Maximum                                  70.5%                       69.2%
           Maximum Daily Dosage Units                               93.6%                       91.7%
                Any McCann Method                                    98.0%                       96.1%


         B.      Hydrocodone Rescheduling

         85.     McCann’s identification of shipments does not take into account the rescheduling of
                 hydrocodone and how this event led to a change in how the product was distributed to
                 many pharmacies. In 2014, hydrocodone was rescheduled from Schedule III to Schedule
                 II. When hydrocodone was a Schedule III product, most large chain pharmacies (for
                 example, Cardinal’s customer CVS), used their own chain warehouses as the primary
                 supplier of hydrocodone to their pharmacies. After the rescheduling, many chain


87
     McCann Dataset numbers reported for 2006-2017 are used for both calculations, however, initial flagging and
     carry-forward begin in 1996 and 2006, respectively.



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                  warehouses no longer maintained hydrocodone inventory or shipped the product. 88
                  Cardinal became the primary supplier of hydrocodone to some chain pharmacies for which
                  it had previously been a secondary distributor, including for its largest customer, CVS. See
                  Figure 3 for a comparison of the hydrocodone volume shipped to CVS pharmacies by
                  Cardinal vs. CVS over time; it is clear that the rescheduling in 2014 is a unique event that
                  warrants consideration in an analysis of shipment patterns. Not surprisingly, that change
                  caused a large spike in shipped volume of hydrocodone by Cardinal to customers like CVS
                  pharmacies. 100% of these shipments were flagged as suspicious either because of the
                  carry-forward rule or because of the large increase in dosage units being shipped.

Figure 3: All Hydrocodone Shipments to CVS Pharmacies by Distributor (2006-2017) 89




88
     ARCOS data. Also see discussion above regarding storage requirement differences in Schedule II versus Schedule
     III products. The additional regulations around storage and shipment of Schedule II products was a contributing
     factor to chain pharmacies discontinuing their fulfillment of hydrocodone.
89
     McCann Dataset.


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           86.     I noted that McCann’s methods were all programmed such that they “reset” when a
                   customer changed distributors, but the methods did not account for a shift in distributor
                   relationships such as these shifts from being a secondary distributor to primary. In my
                   opinion, that new primary distributor relationship should be evaluated separately from the
                   previous secondary distributor relationship. McCann’s failure to incorporate the context of
                   the hydrocodone orders causes him to overstate the dosage units flagged his six-month
                   trailing method by 5% (across all products).

           87.     I have quantified the impact the hydrocodone rescheduling had on McCann’s six-month
                   trailing method in the table below. This issue also affects his two times and three times
                   trailing twelve-month methods.

Table 7: McCann's Methods Accounting for Hydrocodone Rescheduling in Cardinal’s
Distributions (2006-2017) 90

                                              % Flagged         % Flagged - Accounting     % of McCann Flagged
                                            Hydrocodone by         for Hydrocodone             Dosage Units
              McCann Method                    McCann                Rescheduling                Affected
             Six-Month Trailing                                                                            5.0%
      Two Times Trailing Twelve-Month                                                                      8.8%
     Three Times Trailing Twelve-Month                                                                    14.1%
          8,000 Monthly Maximum                                                                            0.0%
           Maximum Daily Dosage                                                                            0.0%
           Any McCann Method                                                                              19.2%



           C.      Size of Pharmacy

           88.     McCann’s methods are not sophisticated enough to account for the size of the pharmacies
                   in his analysis. He treats a small independent pharmacy with very little foot traffic and
                   relatively few patients the same as a large chain pharmacy, such as CVS. Obviously, size
                   matters when looking at order volumes and this flaw in McCann’s methodology has a




90
       McCann Dataset; CVS and Discount Drug Mart were treated as new customers starting after the hydrocodone
       rescheduling and compared to the combination of the CVS and Discount Drug Mart distributions from Cardinal
       and the CVS/Discount Drug Mart warehouses for the period prior to the hydrocodone rescheduling.



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                material impact on his results, causing him to flag shipments as suspicious when, put in
                context, there is no reason to consider them to be of “unusual size.” 91

        89.     One way we typically deal with different sized subjects in analyses is to create a metric
                that normalizes the variable we are interested in. In this case, an examination of opioid
                distributions to Cardinal’s customers can be put in context of the total drug distributions to
                those customers. Total drug distributions serve as a reasonable measure of the overall size
                of a pharmacy, as it reflects the volume of all drug products the pharmacy dispenses,
                including non-controlled substances. The DEA has acknowledged that the ratio of
                controlled substances to total product volume (“CS %”) is a relevant factor for distributors
                to consider in assessing pharmacy orders of controlled substances and has indicated that a
                20 percent CS % was common, and sometimes a higher percentage could exist for a
                legitimate pharmacy. 92

        90.     In the 2007 Southwood decision identified by Rafalski in his report, Mike Mapes, Chief of
                the Office of Diversion Control's E-Commerce Section, stated, for a “typical” retail
                pharmacy in 2006 “controlled substances might amount to between five and twenty percent
                of the pharmacy’s purchases’’ with the other eighty to ninety percent of its purchases being
                non-controlled drugs.” 93 That same statistic was mentioned in the Masters administrative
                decision that McCann cites for his six-month trailing method. 94 DEA employee Kyle
                Wright indicated in his deposition in this matter as follows: “Q: And is it accurate to say
                that you knew it was common for legitimate pharmacies to have a ratio of approximately
                20 percent of controlled to 80 percent noncontrolled? A: In that area, yes. Q: Okay. And
                higher percentages of controlled drugs could be reasonable at times, right? A: Yes.” 95

        91.     In order to account for pharmacy size, I calculated the percentage of total shipments to a
                customer that were controlled substances (CS %) or opioids (“Opioids %”). These
                percentages control for pharmacy size by comparing the pharmacy’s demand for controlled

91
     State of Ohio Board of Pharmacy, FAQ: Suspicious Order Monitoring and Due Diligence, found at
     https://www.pharmacy.ohio.gov/Documents/Pubs/Special/SUSPICIOUS_ORDER/Suspicious%20Order%20M
     onitoring%20and%20Due%20Diligence.pdf, last accessed 5/8/2019.
92
     Deposition of Kyle Wright, 2/28/2019 (“Wright Deposition”), 260:13-22.
93
     Southwood Pharmaceuticals, Inc. Revocation of Registration, 72 Fed. Reg. 36492 (July 3, 2007).
94
     Masters Pharmaceuticals, Inc. Decision and Order, 80 Fed. Reg. 55477 (September 15, 2015).
95
     Wright Deposition, p. 260.



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                  substances (or opioids) to its overall demand for drug products. Using distribution data
                  produced in this litigation by Cardinal and CVS, 96 I calculated the CS % and Opioids % of
                  total shipments for each of Cardinal’s Cuyahoga and Summit County pharmacy customers
                  included in McCann’s analysis. 97 Table 8 shows that the aggregate controlled substances
                  percentage across customers for 2006 – 2017 was ~                      and the aggregate opioids
                  percentage was          . CVS pharmacies overall had a CS % of                I have also listed the
                  top 7 CVS pharmacies by volume, which reveals a range of CS % from                        to
                  The Opioids % (a subset of the CS %) ranges from              to       . 98

Table 8: Controlled Substance and Opioid Concentration to Cardinal Track 1 Customers (2006-
2017) 99

                                  Controlled                              Six-Month Trailing        Any Method %
       Customer(s)               Substance %             Opioid %             % Flagged                Flagged
 McCann Customers
  CVS
   CVS #3322
   CVS #4800
   CVS #4347
   CVS #3035
   CVS #3360
   CVS #4300
   CVS #3338
  All Other Customers




96
     Cardinal serviced the majority of Track 1 CVS pharmacies’ controlled substance volume during the relevant time
     period while CVS chain warehouses serviced their pharmacies for non-controlled substances. Cardinal only
     accounted for about        of the total volume shipped to CVS pharmacies; Therefore, using just the data available
     to Cardinal does not capture the full story of each CVS pharmacy’s controlled substance concentration.
97
     Note that Cardinal does not have access to the CVS data in real time. I was only able to perform the CVS
     calculations due to the production of data that CVS made in this matter.
98
     Note that the % flagged by McCann sometimes exceeds 100%. This is due to shipments that were returned but
     still flagged by McCann.
99
     McCann Dataset; Cardinal Opioid Distribution Data; Cardinal Non-Opioid Distribution Data;
     CVS_MDLT1_000124148-000124180 (“CVS Distribution Data”).
           To convert the Cardinal Non-Opioid Distribution Data to dosage units, I have performed the following
           calculation: Size * Quantity Shipped. To convert the CVS Distribution Data to dosage units, I have
           performed the following calculation: Size * Regular Quantity. See State of Ohio Board of Pharmacy,
           FAQ:      Suspicious      Order      Monitoring     and   Due      Diligence,     p8,     found      at
           https://www.pharmacy.ohio.gov/Documents/Pubs/Special/SUSPICIOUS_ORDER/Suspicious%20Or
           der%20Monitoring%20and%20Due%20Diligence.pdf, last accessed 5/8/2019.



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          92.      Table 8 also reflects the percentage of opioid dosage units flagged by McCann’s six-month
                   trailing method and any method. Regardless of whether a pharmacy’s CS % was                  or
                       , or whether opioids accounted for          or       of a CVS pharmacy’s dosage units,
                   McCann flags         or more of the shipments under his six-month trailing method and over
                        under any method.

          93.      I analyzed the annual CS % of CVS pharmacies in Track 1. I found that the CS % for these
                   CVS pharmacies generally remained at or below                for the years 2006 – 2017. For
                   pharmacies with higher percentages, additional reasons for those higher percentages may
                   exist such as customer location (e.g., being near a hospital, cancer clinic, in a rural areas,
                   etc.), the population serviced by the pharmacy, or other factors. 100 An understanding of
                   these reasons is usually related to a distributor knowing its customer and tailoring the
                   threshold limits for the customer based on the customer’s routine usage of controlled
                   substances. Additional information about my analysis can be found in Appendix C. 101

          94.      To further test my conclusion that McCann’s methods are biased toward flagging large
                   pharmacies, I broke the CVS pharmacies into three groups by total shipments (small,
                   medium, and large). Table 9 shows that while CS % and Opioid % are generally consistent
                   across the three groups, the percentage flagged by McCann increases with the size of the
                   pharmacy. In other words, McCann’s methods are more likely to identify opioid shipments
                   to large CVS pharmacies as outliers despite the fact that these pharmacies are purchasing
                   a similar volume of opioids relative to their size as compared to the small and medium
                   CVS pharmacies.




100
      Rannazzisi Deposition, 274:10-275:3; Wright deposition, 260:13-25; Ashley Deposition, 150:13-151:17; see also
      Consensus Document, Stakeholders’ Challenges and Red Flag Warning Signs Related to Prescribing and
      Dispensing Controlled Substances, found at https://nabp.pharmacy/wp-content/uploads/2016/07/Red-Flags-
      Controlled-Substances-03-2015.pdf, last accessed May 8, 2019.
101
      Additionally, Appendix C presents the same summary for Opioids %.


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Table 9: Strata Analysis of Flagged Cardinal CVS Pharmacies (2006-2017) 102


  Total Volume Percentile            Controlled                          Six-Month Trailing     Any McCann
          Buckets                   Substance %          Opioid %            % Flagged           Method %
  Small Volume CVS Stores
 Medium Volume CVS Stores
  Large Volume CVS Stores
             Overall                        12



          95.      I have quantified the percentage of dosage units that McCann flagged that are associated
                   with customers that had an annual CS % of 22% or less. The 22% threshold for this analysis
                   is conservative given the DEA’s characterization that 20% may be indicative of a
                   “common” or “typical” pharmacy and that higher percentages may be expected for some
                   pharmacies depending on other characteristics. 103, 104 The use of 22% is not meant to imply
                   that anything over 22% is suspicious; rather, there may be other factors that one would
                   have to consider before determining an order was suspicious. 105 Even before such
                   consideration,        of the McCann flagged dosage units are affected by this analysis.




102
      McCann Dataset; Cardinal Opioid Distribution Data; Cardinal Non-Opioid Distribution Data; CVS Distribution
      Data.
          CVS small, medium, and large customers have been categorized based on total distributions between the
          0-25th, 25th-75th, and above the 75th percentiles, respectively.
103
      Wright Deposition, 260:13-261:1.
104
      I used 22% based on applying a 10% increase over the 20% CS % that DEA indicated would be typical for a
      pharmacy. If 20% is typical, then an unusual high percentage would be materially higher than 20%.
105
      Wright Deposition, 260:19-261:1 (recognizing that percentages of controlled substances over 20% may be
      reasonable at times, such as situations when a pharmacy is located next to a cancer clinic).


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Table 10: Percentage of McCann Flagged Cardinal Dosage Units with CS % Less than 22% (2006-
2017) 106, 107


                                                     % Flagged - McCann        % of McCann Flagged
                  McCann Method                            Method              Dosage Units Affected
                 Six-Month Trailing
          Two Times Trailing Twelve-Month
         Three Times Trailing Twelve-Month
              8,000 Monthly Maximum
            Maximum Daily Dosage Units
                 Any McCann Method


          D.      Consider Proximity to a Hospital

          96.     As mentioned above, another factor that could affect the volume of opioids purchased by
                  one of Cardinal’s customers is proximity to, or relationship with, a hospital or other clinical
                  location that writes prescriptions for opioids. 108 Joseph Rannazzisi, who was the head of
                  the DEA’s Office of Diversion Control from 2005 – 2015, testified in response to a question
                  about the level of due diligence performed by a distributor, “[i]t depends on the type of due
                  diligence they’re doing on their customers; whether they know their customers and what
                  their customers’ normal ordering patterns are; where is their customer situated; is the
                  customer closer to a hospital; is the customer close to – is in a rural areas. There are so
                  many dynamics that the drug enforcement administration doesn’t have. Only the business,
                  the distributor, the registrant has that information.” 109

          97.     For all five of his methods, McCann explicitly excludes hospital customers from his
                  analysis. McCann’s excludes of hospital customers, however, does not account for the
                  volume of hospital prescriptions referenced by the DEA witnesses – prescriptions filled at
                  separate on-campus, outpatient pharmacies or pharmacies within a close proximity to a

106
      McCann Dataset; Cardinal Opioid Distribution Data; Cardinal Non-Opioid Distribution Data; CVS Distribution
      Data.
107
      I have also calculated 20 % CS or 25 % CS using McCann’s six-month trailing and any method. McCann six-
      month trailing: 20% CS-       and 25% CS-       ; any method: 20%        and 25% CS
108
      Deposition of Emma Douglas, 1/17/2019, 121:6-126:10.
109
      Rannazzisi Deposition, 274:10-275:3.



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                    hospital. For example, McCann excludes from his analysis shipments by Cardinal to the
                    MetroHealth system but includes shipments to MetroHealth pharmacy, which is an onsite
                    pharmacy on the MetroHealth campus. As such, McCann’s analysis does not appropriately
                    account for pharmacies that would tend to dispense more controlled substances because of
                    their proximity to a hospital. 110

          98.       To account for a pharmacy’s proximity to a hospital, I determined the number of shipments
                    flagged by McCann that were sent to a pharmacy close to a hospital. 111 A pharmacy was
                    considered close to a hospital if it was within 0.25 miles of a hospital or was the closest
                    pharmacy to a hospital regardless of distance (to account for the less concentrated areas of
                    Cuyahoga and Summit counties). Some of these pharmacies (such as the MetroHealth
                    example cited above) are in the same building or on the same campus as the hospital.
                    Another example is New Choice Pharmacy, which was on-site at Western Reserve Hospital
                    in Cuyahoga Falls. Cardinal documented in 2008 that New Choice was owned by the
                    hospital and serviced oncology and hospice patients, noting that as a rationale for an opioid
                    threshold exception. 112 Others are within blocks of the facility. For example, CVS Store
                    #4800 is across the street from Summa Health System’s Akron Campus.

          99.       In total, over       of the opioid doses flagged by McCann were shipped to pharmacies that
                    were either on-site           or otherwise within close proximity to (               a hospital. Table
                    11 summarizes the percentage of McCann’s flagged shipments under each of his methods
                    sent to pharmacies within a close proximity to a hospital.




110
      Ibid.
111
      Close proximity to a Hospital has been defined as on-site at hospital, within 0.25 miles of a hospital, or the nearest
      pharmacy to a hospital.
112
      01_CAH_MDL2804_00000605_CAH_MDL_2804_002.pdf


                                                             43
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Table 11: Percentage of McCann Flagged Cardinal Dosage Units within Close Proximity to
Hospital (2006-2017) 113

                                                                     % of McCann Flagged
                              McCann Method                          Dosage Units Affected
                             Six-Month Trailing                                         26.9%
                      Two Times Trailing Twelve-Month                                   28.8%
                     Three Times Trailing Twelve-Month                                  31.6%
                          8,000 Monthly Maximum                                         27.6%
                        Maximum Daily Dosage Units                                      28.1%
                             Any McCann Method                                             28.3%


          E.       340B Pharmacies

          100.     In addition to the pharmacies within close proximity to a hospital, some pharmacies have
                   contractual relationships with hospitals that could affect customer demand for covered
                   products including opioids. Several hospitals in Cuyahoga and Summit county are enrolled
                   in the 340B discount drug program, which is a program through which those facilities can
                   access prescription drugs at discounted prices. 114 Hospitals eligible for participation
                   include disproportionate share (DSH) hospitals, children’s hospitals, and others. Starting
                   in 2010, an increasing number of 340B hospitals began dispensing products not only
                   through their outpatient pharmacies, but also through community retail pharmacies.
                   McCann includes these community retail pharmacies in his analysis.

          101.     There are 86 pharmacies in Cuyahoga and Summit counties that were 340B contract
                   pharmacies during at least some portion of the relevant time period for McCann’s methods.
                   To account for these pharmacies, I identified 340B contract pharmacies in the Track 1
                   counties and isolated the opioid dosage units flagged related to those pharmacies at the



113
      McCann Dataset; ARCOS; Texas A&M University GeoInnovation Center; TAMU GeoServices. Available at
      https://geoservices.tamu.edu/ (Accessed 5/8/2019). Close Proximity to a Hospital has been defined as on-site at
      hospital, within 0.25 miles of a hospital, or be the nearest pharmacy to a hospital.
114
      These designated 340B contract pharmacies dispense outpatient drugs on behalf of the 340B covered entity
      (hospital). http://www.medpac.gov/docs/default-source/reports/may-2015-report-to-the-congress-overview-of-
      the-340b-drug-pricing-program.pdf?sfvrsn=0f (Accessed 5/9/2019).




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                  time they were 340B contract pharmacies. Those dosage units totaled 8.6% for the six-
                  month trailing method and 8.4% in any method.

          Table 12: Percentage of McCann Flagged Cardinal Dosage Units for 340B Contract
          Pharmacy (2006-2017) 115

                                                                   % of McCann Flagged Doses
                               McCann Method                               Affected
                              Six-Month Trailing                                        8.6%
                       Two Times Trailing Twelve-Month                                  7.5%
                      Three Times Trailing Twelve-Month                                 7.2%
                           8,000 Monthly Maximum                                        8.7%
                         Maximum Daily Dosage Units                                     8.6%
                              Any McCann Method                                              8.4%




115
      McCann Dataset; National Counsel for Prescription Drug Programs dataQ (https://ncpdp.org/Products, accessed
      5/9/2019); Office of Pharmacy Affairs Contract Pharmacy dataset
      (https://340bopais.hrsa.gov/(X(1)S(5w3flj0ycfsvkf2myp4uoo5g))/reports, accessed 5/9/2019). 340B Contract
      Pharmacies are pharmacies with active 340B contract at the time of the distribution.


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       102.    In summary, 99.6% of McCann’s six-month trailing method is affected by my contextual
               analysis (95.5% across all methods).

Table 13: Percentage of McCann Flagged Cardinal Dosage Units Affected by Contextual Analysis
(2006-2017)

                                                               % of McCann’s
                                                                 Six-Month
                                                                                 % of Any Method
     Contextual Analysis              Description              Trailing Method
                                                                                  Dosage Units
                                                                Dosage Units

    Shipments captured
    by McCann “carry-         Captured because a prior
    forward” rule             shipment violated the criteria
                                                                   94.3%              31.8%
                              (i.e., not based on the
                              shipment itself)

    Hydrocodone
    Rescheduling              Captured because no
                              adjustment for hydrocodone            5.0%              19.2%
                              rescheduling

    Size of Pharmacy
                              Captured despite less than
                              22% of customer’s shipped
                                                                   84.0%              82.3%
                              volume was controlled
                              substances

    Proximity to a
    Hospital                  Captured despite pharmacy
                              being located in close               26.9%              28.3%
                              proximity to a hospital

    Hospital Contractual
    Relationship              Captured despite pharmacy
                              having a 340B relationship            8.6%              8.4%
                              with hospital

    Total Percentage of McCann’s Analysis Affected by
    Contextual Analysis                                            99.6%              95.5%




                                                   46
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      VII.     MCCANN’S ANALYSIS FAILS TO CONSIDER MARKET LEVEL
               FACTORS THAT EXPLAIN CARDINAL’S SHIPMENT TRENDS

          A.      McCann’s Excessive Shipment Analysis

          103.    In Section X of his report, McCann attempts to support his methods for identifying
                  shipments of unusual size by performing a high-level analysis of what he terms “excessive
                  shipments.” McCann bases his excessive shipments analysis on ARCOS reported data for
                  the state of Ohio from 1997 – 2018. He uses annual morphine milligram equivalents
                  (MME) per capita in the state to identify two different baseline assumptions for “legitimate
                  opioid use.” McCann’s Figure 24 depicts his methodology in terms of Ohio MME per
                  capita, which is recreated below as Figure 4 for ease of discussion.

          104.    The first baseline assumes that all opioid prescriptions in 1997 represent “medically
                  necessary” opioid use and any opioid use beyond this level in 1998 – 2017 may be
                  unnecessary. McCann references this baseline as “a possible lower bound” of medically
                  necessary opioid MME per capita. This line is identified as the purple dashed line in Figure
                  4 below and the area shaded gray represents the volume of MME which McCann deems
                  the lower limit of medically necessary use.

          105.    McCann creates a second so-called baseline by assuming that: (1) the drivers for opioid
                  use evolve gradually over time, and (2) all (100%) opioid prescriptions in 2018 represent
                  “medically necessary” opioid use. McCann does not explain why he selected 1997 or 2018
                  for the analysis and uses these unsupported assumptions to suggest creating an interpolated
                  baseline from 1997 to 2018. This line is identified as the gray dotted line in Figure 4 below
                  and the areas shaded gray and yellow represents the volume of MME which McCann
                  deems the upper limit of medically necessary use.

          106.    McCann opines that any opioid use above these baselines represent possible unnecessary
                  opioid use, which he estimates to be between 58.6%-77.3% 116 of total MME shipped into
                  Ohio from 1998 to 2017. 117


116
      The salmon shaded area on Figure 4 equals 58.6% of the total MME volume. The salmon and yellow shaded areas
      represent 77.3% of the total MME volume.
117
      McCann Report, ¶ 158.


                                                       47
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          107.    McCann does not define what is meant by “medically necessary” and provides no rationale
                  to support why opioid prescription volume in 1997 or 2018 would be instructive in
                  identifying excessive shipments. As such, there is no basis to assume or conclude that
                  opioid prescription volume in 1997 or 2018 is relevant to McCann’s analysis. Despite this
                  fundamental lack of foundation to support his analysis, to the extent McCann’s excessive
                  shipment analysis is understood, I disagree that either baseline is related or helpful to
                  identify medically necessary opioid use or excessive shipments.

Figure 4: Comparison of McCann Baselines and Ohio Distributions (1997 -2018) 118




          108.    In an effort to capture additional shipments as “excessive,” McCann opines that because
                  there is an overall decline in opioid use from 2012 to 2018, his use of 100% of the 2018
                  prescription volume to create the upper bound likely overestimates “legitimate opioid use.”
                  In Table 45 of McCann’s Report, he attempts to adjust for this overall decline in opioid use

118
      McCann Report, Table 44.


                                                      48
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                  by calculating the excessive MME shipped if the percentage of “legitimate” opioid use is
                  less than 100% of the 2018 level (i.e., 0%, 20%, 40%, 60%, and 80%). 119 McCann does
                  not opine on which, if any, of these percentage reductions would be an accurate assumption
                  of unnecessary growth.

          109.    In sum, McCann does not describe or support how his seemingly random baselines are
                  appropriate to estimate or form conclusions regarding unnecessary opioid use. As
                  described in more detail below, McCann’s unsupported conclusions also conflict with (1)
                  a comparison of opioid distributions in Ohio; (2) the prescription demand for opioids; and
                  (3) opioid production levels deemed appropriate by DEA over the relevant time period.

          B.      Shipments in View of Legitimate Patient Need

          110.    As illustrated in Figure 1 above (¶ 32), a doctor can order a controlled substance be
                  provided to a patient to address a legitimate patient need by writing a prescription for the
                  patient. The patient presents the prescription at the pharmacy for fulfillment. In response
                  to receiving a prescription; the pharmacy places orders for the prescribed controlled
                  substance, causing the distributor to ship the ordered controlled substance to the pharmacy.
                  It is not proper to make a sweeping conclusion that large numbers of shipments are
                  “unnecessary” without information about the legitimate patient need to be addressed by the
                  prescribed controlled substance. Indeed, “DEA presumes [ ] that most physicians provide
                  appropriate amounts of pain medication.” 120 As such, an inquiry into the legitimate medical
                  purpose underlying the use of the controlled substance is required before a prescription can
                  be deemed “unnecessary.”

          111.    Figure 5 below compares opioid distributions in Ohio (using MME per capita; represented
                  by the blue line) to nationwide MME per capita usage as determined by prescription data
                  (using MME per capita; represented by the orange line). 121 As described above, the use of


119
      McCann Report, ¶ 159.
120
      DEA Statement on Dispensing Controlled Substances for the Treatment of Pain (2006), p. 4.
      (https://www.deadiversion.usdoj.gov/fed_regs/notices/2006/fr09062.htm, accessed 5/9/2019).
121
      The data used for prescription MME reflects prescription data from IMS that has been converted to MME per
      capita by dividing by the 2010 US population per the United States Census Bureau (“Census”). Summary data
      was found here: https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2728005 (accessed 5/9/2019)
      (“IMS Data”). IMS (Information Medical Statistics), which is now known as IQVIA, is the largest vendor of



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                  IMS prescription data allows a comparison of the volume of prescribed controlled
                  substances (i.e., what the doctor has ordered as appropriate for a legitimate medical need)
                  versus controlled substance shipments to pharmacies (used to fill the prescription orders).
                  The appropriateness of using prescribing trends to evaluate legitimate medical use of
                  controlled substances is well supported by the DEA’s recognition that “the overwhelming
                  majority of American physicians who prescribe controlled substances do so for legitimate
                  medical purposes.” 122

          112.    The comparison in the figure below demonstrates that shipments of opioids into Ohio were
                  consistent with the overall nationwide prescription volume for opioids. Thus, the legitimate
                  patient need, as determined by a licensed prescriber, for opioids in Ohio was similar to the
                  nationwide need, and it is reasonable to conclude that the shipments into Ohio were not
                  necessarily excessive. In addition, the comparison further illustrates that the theoretical
                  baseline values constructed by McCann are not consistent with specific market data for the
                  relevant time period.




      U.S. physician prescribing data. The firm has “one of the largest and most comprehensive collections of
      healthcare information in the world, spanning sales, prescription and promotional data, medical claims,
      electronic medical records and social media.” See IMS Health Holdings, Inc. Form 10K found at
      https://www.sec.gov/Archives/edgar/data/1595262/000156459015000673/ims-10k_20141231.htm
122
      DEA Statement on Dispensing Controlled Substances for the Treatment of Pain (2006), p. 5.
      (https://www.deadiversion.usdoj.gov/fed_regs/notices/2006/fr09062.htm, accessed 5/9/2019).


                                                      50
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Figure 5: Comparison of IMS Prescriptions, McCann Baselines, and Ohio Distributions (1997-
2018) 123




          113.     Another point of reference to evaluate whether shipments into Ohio may be excessive is to
                   look at the shipments in comparison to the APQ that is set annually by DEA, with
                   consideration of FDA’s input, 124 to ensure production quantities are sufficient to meet
                   overall U.S. needs. 125 As discussed above, the APQ is determined in part by considering
                   IMS prescription data 126 and also includes factors such as projected medical, scientific, and
                   reserve stock, 127 data on abuse and diversion, 128 and ARCOS data. 129 The value of this


123
      McCann Report, Table 44; IMS Data; Census.
124
      30(b)(6) Deposition of the Drug Enforcement Administration through the testimony of Stacy Harper-Avilla, April
      11, 2019 (“Harper-Avilla Deposition”), 103:23-104:25.
125
      Harper-Avilla Deposition, 72:13-18.
126
      Harper-Avilla Deposition, 58:17-63:11.
127
      Harper-Avilla Deposition, 72:13-18.
128
      Harper-Avilla Deposition, 74:7-15.
129
      Harper-Avilla Deposition, 67:1-4.



                                                         51
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                  comparison is further supported by DEA’s statement that medical need is a significant
                  component of the total APQ. 130

          114.    Figure 6 below is identical to Figure 5 with the addition of the APQ (the green dotted line)
                  over the relevant time period. The per capita APQ (measured in MME) is higher than per
                  capita shipments (measured in MME) into Ohio. However, the important comparison is
                  that the shipments into Ohio follow the overall trend of the APQ, illustrating that the
                  shipments into Ohio trend in a similar fashion to the amount of opioid use that the DEA
                  predicted would be necessary to meet overall market needs. In sum, the Ohio shipments
                  per capita closely track with the time periods of recognized nationwide growth and
                  constriction of usage as reflected in the APQ. However, under McCann’s methodology,
                  82% of the APQ would be flagged as excessive. 131




130
      Rannazzisi Deposition, 92:17-93; 30:12-18.
131
      See Appendix F.


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Figure 6: Comparison of National Aggregate Opioid Production Quota, IMS Prescriptions,
McCann Baselines, and Ohio Distributions (1997 -2018) 132




          115.     Figure 6 also illustrates that the theoretical baseline values constructed by McCann are not
                   consistent with and do not track with the market data for the relevant time period.


132
      DEA Aggregate Production Quota (https://www.deadiversion.usdoj.gov/fed_regs/index.html, accessed
      5/9/2019) (“APQ”); McCann Report, Table 44; IMS Data; Census.
          The APQ depicted here excludes the 25% buffer instituted from 2013-2016 to establish reserve stocks in
          the event of a “natural disaster or other unforeseen event resulted in substantial disruption to the amount
          of     controlled    substances      available    to    provide      for    legitimate      public    need”
          (https://www.deadiversion.usdoj.gov/fed_regs/quotas/2013/fr0807.htm, accessed 5/9/2019). The APQ
          has been converted to MME per capita by dividing by the anhydrous weight factor to convert to salt
          weight (ARCOS Registrant Handbook, Appendix 3, Conversion Factors for Controlled Substances from
          Salt to Anhydrous Base or Acid) and multiplying by the MME conversion factor
          (https://www.cms.gov/Medicare/Prescription-Drug-
          Coverage/PrescriptionDrugCovContra/Downloads/Opioid-Morphine-EQ-Conversion-Factors-Aug-
          2017.pdf, accessed 5/9/2019). See “Calculating Total Daily Dose of Opioids For Safer Dosage”
          (https://www.cdc.gov/drugoverdose/pdf/calculating_total_daily_dose-a.pdf, accessed 5/9/2019).


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       C.     Cardinal-Specific Shipments

       116.   With respect to Cardinal-specific shipments per capita, I have modified Figure 6 to include
              data regarding Cardinal-specific shipments into Cuyahoga and Summit counties. For ease
              of comparison, the information related to McCann’s purported baselines, discussed above,
              has been removed. The inclusion of the Cardinal-specific data illustrates that when
              compared to relevant benchmarks of market usage and trends, such as overall Ohio
              shipments per capita, IMS prescription data, and the DEA-created APQ, the Cardinal-
              specific shipments appear reasonable and consistent with market trends tied to the use of
              opioids related to prescriptions issued by licensed prescriber.




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Figure 7: Comparison of Cardinal Track 1 Distributions, National Aggregate Production Quota,
IMS Prescriptions, and Ohio Distributions (1997 -2018) 133




         117.    I performed a similar analysis on a product-specific level to confirm that the results in
                 Figures 5-7 are consistent if the analysis includes only shipments of a single opioid product.
                 The results, found in Appendix E, confirm the shipments of oxycodone and other opioids
                 into Track 1 are at levels that are generally consistent with the overall market trends as
                 reflected by the APQ.

         118.    In sum, I do not agree with McCann’s seemingly random assumptions that led him to
                 conclude that between                  of total MME shipped into Ohio from 1998 to 2017
                 were possibly unnecessary opioid use. The shipments into Ohio are consistent with third-
                 party data sources related to prescriptions issued by licensed prescribers, and DEA-
                 endorsed indicators. Additionally, the Cardinal-specific shipments are generally in line


133
      McCann Dataset; McCann Report, Table 44; IMS Data; APQ.


                                                      55
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                 with the shifts in prescribing and the quotas, and Cardinal does not look like an outlier in
                 terms of its share of any of these comparison points.

         D.      McCann’s Conclusions Are Disconnected from Market Reality

         119.    Fig. 8 (below) is similar to Fig. 7 and includes the Cardinal Track 1 shipments that were
                 not flagged by any of McCann’s methods (using MME per capita; represented by brown
                 line). This analysis illustrates that after removal of McCann’s flagged shipments, the
                 volume McCann suggests as appropriate is patently insufficient to supply Cardinal’s
                 customers with product necessary for the legitimate medical need of their patients.
                 McCann’s results are not consistent or applicable to the overall market trend for opioids.

Figure 8: Comparison of Cardinal Track 1 Opioid Distributions, Cardinal Track 1 Distributions
Not Flagged by McCann, National Aggregate Production Quota, IMS Prescriptions, and Ohio
Distributions (1997 -2018) 134




134
      McCann Dataset; McCann Report, Table 44; IMS Data; APQ.


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      VIII. RAFALSKI SCHEDULE III RELATED TO CARDINAL’S SUSPICIOUS
               ORDER MONITORING IS INACCURATE

          120.     Rafalski reports that from 1/1/13 to present, Cardinal identified             suspicious orders for
                   Summit and Cuyahoga counties. He purports to have examined those                           orders to
                   determine whether Cardinal made any additional shipments of the same base code/drug
                   family 135 to the same customer after a suspicious order was identified - but before the end
                   of its monthly order accrual cycle (“accrual cycle”) with a lack of documented due
                   diligence. Rafalski concludes that there were            improper shipments of the same opioid
                   base code to a customer after a suspicious order and during the same order accrual cycle.

          121.     Rafalski describes Cardinal’s system as “designed so that if a customer exceeded a
                   threshold and had a suspicious order reported based on that breach Cardinal Health was
                   not to ship any more of that base code/drug code to that customer until the threshold reset
                   at the end of the accrual cycle or there was adequate due diligence done to clear the order
                   and subsequent orders.” 136

          122.     I have not performed a detailed review of, nor am I opining on, Cardinal’s anti-diversion
                   program in general. However, I reviewed the logic Rafalski used to conclude that each of
                   the     shipments was improperly shipped and reviewed the underlying data related to the
                   shipments. I disagree with Rafalski’s characterization of those                  shipments; to the
                   contrary, my analysis indicates that all            appear to have been shipped in a manner
                   consistent with the customer’s accrual cycle. The reasons for Rafalski’s incorrect
                   conclusions can be grouped into at least four categories.

          123.     First, Rafalski improperly assumes that the accrual cycle for all of the customers reviewed
                   began on the 22nd day of the month. 137




135
      A base code or drug code is identified by the first four characters of the drug code that corresponds to the
      portion of the controlled substance molecule identified as the "base" drug.
136
      Rafalski Report, pages 67-68
137
      Rafalski Report, Schedule III (“Shipped more after SOR (on or before 21st”).
138
      Cameron Deposition, 176:9-18.



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          124.    Second, Rafalski uses each shipment’s invoice date to determine whether the order was
                  placed within the same monthly accrual cycle as the suspicious order.




          125.    Third, Rafalski fails to review the applicable product ordering threshold that is in place at
                  the end of the customer’s accrual cycle. Sometimes this change occurred in the middle of
                  an accrual cycle.140 Per Todd Cameron, “[o]ne thing that happens, when we change a
                  threshold during the month, every subsequent order that goes over what the amount was
                  prior to the change until the next accrual cycle reset looks like a released order.” 141
                  Rafalski’s failure to account for threshold changes leads to the improper inclusion of
                  shipments that were below the customer’s monthly threshold.

          126.    Finally, Rafalski erroneously flags shipments that were subsequent to a suspicious order
                  even if that shipment was for an amount under the customer’s threshold for the accrual
                  cycle. 142 The data indicates that Cardinal had a monthly threshold limit in dosage units for
                  each customer by base code/drug family. If an order is held and not shipped, a subsequent
                  smaller order that is under the monthly threshold may be shipped. By failing to account for
                  these occurrences, Rafalski improperly identifies shipments that did not violate a
                  customer’s monthly threshold limit.

          127.    For example, Rafalski identified as improper two Discount Drug Mart #33 (BD1354149)
                  shipments that occurred after suspicious orders of hydrocodone. The two suspicious orders



139
      Ibid.
140
      Cameron Deposition, 214:23-215:21.
141
      Cameron Deposition, 215:17-21.
142
      CAH_MDL280400619126.


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              were placed on 5/6/2015 and total of             dosage units. The maximum amount of
              hydrocodone Discount Drug Mart had previously ordered in a day was            dosage units.
              After Cardinal held and reported the order, Discount Drug Mart received a shipment for
                       dosage units a few days later – an amount that is much more similar to its recent
              shipments. Without knowing the circumstances of this particular shipment, and even
              without specific expertise with Cardinal’s anti-diversion program, it appears clear to me
              that the suspicious order may have been an error. In identifying the subsequent shipment
              as improper, Rafalski appears to have dismissed the possibility that Cardinal stopped an
              order of “unusual size” that was potentially placed in error, and shipped an order of “usual
              size.”

       128.   In summary, Rafalski appears to have grossly misinterpreted the data related to Cardinal’s
              suspicious orders. Rafalski provides little detail in his report or supporting materials
              regarding the data he evaluated, how he conducted his analysis, and the underlying bases
              for his assumptions and conclusions. Therefore, I reserve the right to supplement my
              analyses related to these shipments.




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   IX.      CONCLUSION

         129.   In my opinion, Plaintiffs’ expert Craig McCann has not performed a reasonable or reliable
                analysis to identify Cardinal shipments of unusual size, pattern, or frequency.

         130.   McCann does not identify a single instance of diversion related to an opioid product
                shipment by Cardinal, much less an instance of diversion related to an order that Cardinal
                should have stopped but failed to do so. Further, he does not even attempt to identify a
                causal link between his data analysis and instances of product diversion.

         131.   Shipments by Cardinal to Cuyahoga and Summit county customers were proportional to,
                and reasonably consistent with, trends in national physician prescribing and the DEA
                aggregate production quotas for the time period analyzed.

         132.   McCann fails to take into account the distributor’s role in the supply chain, including but
                not limited to, fulfillment of medical demand for opioids by pharmacies based on
                prescriptions from doctors to meet legitimate patient medical needs.

         133.   McCann’s overly-simplistic methods would flag an excessive number of transactions
                related to almost any product or activity that exhibits growth or fluctuation. His methods
                are “blunt instruments” that systematically flag large numbers of transactions without any
                regard for the complexity or nuances in the underlying data.

         134.   McCann’s carry-forward assumption accounts for 94% of the dosage units flagged for
                unusual size in his six-month trailing method. However, the carry-forward assumption is
                not supported by any regulation, statute, Cardinal’s actual anti-diversion program or SOM
                policies, nor any other real world requirement or system.

         135.   McCann fails to properly take into account any market-based or customer-specific
                contextual elements that affected opioid shipments to Cardinal customers, such as changes
                in opioid prescribing patterns, changed fulfillment strategies (e.g., hydrocodone
                rescheduling), pharmacy customer store size, pharmacy location, or other factors that could
                affect legitimate customer demand for opioids, or other customer-specific factors that the
                DEA acknowledges are important to identify orders of unusual size, pattern, or frequency.




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       136.   McCann stated in his deposition that he did not assess the meaning of the data used in his
              analysis, which explains why he produced unreliable results. Plaintiffs' experts Rafalski,
              Cutler, and McGuire all endorse or rely upon McCann's analysis to draw conclusions in
              their reports without doing anything to correct McCann's errors.

       137.   McCann's methods, endorsed or relied upon by other Plaintiffs' experts (Rafalski,
              McGuire, and Cutler), are deficient because they do not account for customer-specific
              factors that the DEA has suggested Cardinal and other registrants take into account, and
              they result in the identification of more than          shipments as "suspicious," a result
              that does not hold up under further scrutiny. My analysis indicates that over 99% of the
              shipments identified by McCann are affected by one or more contextual factors that should
              be taken into account before declaring that an order is of unusual size.




       I declare under penalty of perjury that the foregoing is true and correct.



 Executed on May 10, 2019.




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                        APPENDIX A: SUMMARY OF MCCANN’S ANALYSES

Table 14: McCann Methodologies and Cardinal Percentage Flagged by Drug (2006-2017) 143

                                                            % Dosage Units Flagged
                                         Two Times        Three Times
                         Six-Month    Trailing Twelve-   Twelve-Month       8,000 Monthly   Maximum Daily
       Drug Code           Trailing        Month            Trailing          Maximum          Dosage       Any Method
    HYDROCODONE
     OXYCODONE
        CODEINE
      MORPHINE
  HYDROMORPHONE
    OXYMORPHONE
     TAPENTADOL
       FENTANYL
      MEPERIDINE
  OPIUM, POWDERED
    LEVORPHANOL
   DIHYDROCODEINE




143
      McCann Dataset.


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Table 15: Percentage of McCann Flagged Cardinal Dosage Units Affected by Contextual Analysis

                      % of       % of       % of       % of       % of
                    McCann’s   McCann’s   McCann’s   McCann’s   McCann’s
                                                                            % of
                      Six-      Twice      Three       8,000    Maximum
                                                                            Any
                     Month     Trailing    Times     Monthly      Daily
     Contextual                                                            McCann
                    Trailing    Method    Trailing   Maximum     Dosage
      Analysis                                                             Method
                     Method     Dosage     Method     Method      Units
                                                                           Dosage
                     Dosage      Units     Dosage     Dosage
                                                                            Units
                      Units                 Units      Units

    Shipments
    captured by
    McCann
    “carry-          94.3%      72.6%      78.3%      57.8%       37.4%        31.8%
    forward” rule

    Hydrocodone
    Rescheduling
                      5.0%       8.8%      14.1%       0.0%       0.0%         19.2%

    Size of
    Pharmacy
                     84.0%      83.6%      81.1%      80.3%       82.2%        82.3%

    Proximity to
    a Hospital
                     26.9%      28.8%      31.6%      27.6%       28.1%        28.3%

    Hospital
    Contractual
    Relationship      8.6%       7.5%       7.2%       8.7%       8.6%         8.4%


    Total % of
    McCann’s
    Analysis
    Affected by
                     99.6%      97.9%      98.0%      96.9%       95.6%        95.5%
    Contextual
    Analysis




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          APPENDIX B: MCCANN’S METHODOLOGIES APPLIED TO 10 TOP NON-
                           CONTROLLED SUBSTANCES

Table 16: McCann’s Methods Applied to Cardinal 10 Top Non-Controlled Substances (2006-
2017) 144

                                                                                                                               % Flagged - Two Times     % Flagged - Three
                                                                                                       % Flagged - Six-Month      Trailing Twelve-     Times Trailing Twelve-    % Flagged - 8,000
      Ingredient Name                                      Description                                        Trailing                 Month                  Month             Maximum Monthly
         Oxycodone             Opioid
        Hydrocodone            Opioid
        Levothyroxine          Thyroid Medication, e.g. Synthroid, Tirosint                                           98.6%                   92.2%                    82.9%                  45.7%
         Metoprolol            High Blood Pressure Medication, Beta-Blocker, e.g. Lopressor                           97.7%                   85.9%                    75.2%                  55.4%
          Lisinopril           High Blood Pressure Medication, ACE inhibitor, e.g. Prinivil, Qbrelis                  97.8%                   93.4%                    87.8%                  81.7%
          Metformin            Anti-Diabetic Medication, e.g. Glucophage, Glumetza                                    99.8%                   91.7%                    84.9%                  81.3%
  Polyethylene Glycol 3350     Laxative, e.g. Miralax                                                                 92.3%                   89.8%                    73.7%                  46.3%
         Atorvastatin          High Cholesterol Medication, e.g. Lipitor                                              88.9%                   86.4%                    75.8%                  27.4%
    Hydrochlorothiazide        High Blood Pressure / Fluid Retention Medication, e.g. Microzide                       96.1%                   94.2%                    83.3%                  59.4%
           Atenolol            High Blood Pressure Medication, Beta-Blocker, e.g. Tenormin                            96.1%                   91.3%                    82.0%                  58.0%
         Furosemide            Diuretic, e.g. Lasix                                                                   94.9%                   87.7%                    78.0%                  49.0%
           Cetirizine          Allergy Medication, e.g. Zyrtec                                                        93.8%                   91.6%                    78.2%                  67.3%




             138.            One of the 10 non-controlled products I analyzed is metoprolol, a commonly prescribed
                             beta-blocker that treats high blood pressure, angina, and heart failure. In addition to 97.7%
                             of shipments being flagged, it is interesting to note that metoprolol has a distribution trend
                             very similar to a product McCann did analyze, hydrocodone, and metoprolol would be
                             flagged by McCann’s method in a similar manner. The similarity in distribution patterns
                             between metoprolol and hydrocodone is one more indicator that the shipments flagged are
                             not suspicious orders with respect to size, pattern, or frequency – there is likely something
                             else going on with respect to the ordering patterns.

             139.            I have analyzed the relationship between Cardinal’s distributions of hydrocodone and of
                             metoprolol. Cardinal distributions of hydrocodone and metoprolol are highly correlated,
                             with an R-squared of 0.8557.




144
      Cardinal Non-Opioid Distribution Data; McCann Dataset; Elsevier Database. Includes pharmacy customers who
      purchase opioids in the period. I have not replicated the maximum daily dosage units on non-controlled substances
      as it is not applicable to those products.


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Figure 9: Regression of Hydrocodone on Metoprolol Dosage Units Shipped by Cardinal to
Pharmacies (2006-September 2014) 145




Table 17: List of Cardinal 10 Top Non-Controlled Substances

Attached as a separate file.




145
      Cardinal Non-Opioid Distribution Data; McCann Dataset; Elsevier Database. This analysis is limited to 2006-
      September 2014 to so that the comparison is not impacted by the hydrocodone rescheduling in October 2014,
      which corresponds to an increase of hydrocodone distributions by Cardinal when it became the primary distributor
      of hydrocodone for pharmacies such as CVS and Discount Drug Mart. Includes pharmacy customers who
      purchased both hydrocodone and metoprolol in the period.


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         APPENDIX C: ANALYSIS OF CONTROLLED SUBSTANCE PERCENTAGES

Table 18: Controlled Substance and Opioid Concentration to Track 1 Cardinal Customers 146

                             Controlled                       Six-Month Trailing   Two Times Trailing      Three Times           Maximum      Maximum Daily %    Any Method %
       Customer(s)          Substance %        Opioid %           % Flagged           % Flagged         Trailing % Flagged       Monthly %        Flagged           Flagged
 McCann Customers
  CVS
   CVS #3322
   CVS #4800
   CVS #4347
   CVS #3035
   CVS #3360
   CVS #4300
   CVS #3338
  All Other Customers




Table 19: Strata Analysis of Flagged Cardinal CVS Stores (2006-2017) 147

  Total Volume Percentile       Controlled                        Six-Month Trailing   Two Times Trailing      Three Times        Maximum      Maximum Daily %    Any McCann
          Buckets              Substance %         Opioid %           % Flagged           % Flagged         Trailing % Flagged    Monthly %        Flagged         Method %
  Small Volume CVS Stores
 Medium Volume CVS Stores
  Large Volume CVS Stores
          Overall




146
      McCann Dataset; Cardinal Opioid Distribution Data; Cardinal Non-Opioid Distribution Data;
      CVS_MDLT1_000124148-000124180 (“CVS Distribution Data”).
147
      McCann Dataset; Cardinal Opioid Distribution Data; Cardinal Non-Opioid Distribution Data; CVS Distribution
      Data.
          CVS small, medium, and large customers have been categorized based on total distributions between
          the 0-25th, 25th-75th, and above the 75th percentiles, respectively.


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Table 20: CS % for All Track 1 Cardinal CVS Pharmacies Over Time (2006-2017) 148
       Customer Name   Customer DEA Number(s)   2006     2007     2008     2009     2010     2011     2012     2013   2014   2015   2016   2017   Overall
         CVS #3322           AR7531418           17.3%    18.3%    21.2%    21.6%    22.1%    22.3%    22.4%
         CVS #4347           AR1404730           12.7%    13.9%    15.7%    14.5%    14.0%    15.0%    14.8%
         CVS #3035           AR6686301           13.9%    15.3%    16.6%    15.6%    15.5%    17.2%    17.5%
         CVS #4300           AR6448888           11.4%    12.1%    13.2%    13.1%    12.4%    13.2%    14.1%
         CVS #4800           BR0287234           18.5%    19.6%    20.2%    21.6%    21.3%    20.7%    19.1%
         CVS #3360           AR2879318           14.2%    15.3%    16.8%    16.1%    16.3%    17.6%    17.3%
         CVS #3338           AR7883449           10.5%    11.5%    13.5%    11.8%    10.2%    11.7%    12.3%
         CVS #3329           AR2879217           10.8%    11.6%    13.2%    13.2%    14.0%    14.6%    15.0%
         CVS #3301           AR2953568           10.1%    10.1%    12.4%    11.7%    12.2%    12.7%    12.0%
         CVS #3339           AR9581415           13.0%    13.6%    15.6%    15.9%    15.8%    16.0%    15.6%
         CVS #3634           BR4293988            7.7%     8.2%     8.5%     8.5%     8.6%     9.2%     9.4%
         CVS #4359           AR2151051           11.3%    12.3%    12.6%    12.4%    10.9%    11.7%    11.4%
         CVS #4345           AR8147818            9.9%     9.5%    10.3%    10.4%    10.6%    10.6%    10.8%
         CVS #3333           AR8556663           14.3%    15.8%    16.4%    16.8%    15.1%    15.8%    15.9%
         CVS #4803           BR3522009            8.1%     9.1%    11.2%    12.5%    13.3%    11.4%    10.8%
         CVS #3306           AR2960688           14.3%    14.5%    15.4%    14.8%    13.5%    12.9%    13.8%
         CVS #4499           BR5638880           10.7%    10.7%    11.3%    11.2%    11.4%    12.3%    12.6%
         CVS #4350           AR9079826            7.9%     7.8%     8.3%     9.2%     9.6%    10.6%    11.0%
         CVS #3817           BR3832335           13.2%    13.1%    13.5%    13.6%    12.3%    12.6%    12.5%
         CVS #4437           BR5144403           10.0%    10.8%    11.8%    10.7%    10.0%    10.8%    10.7%
         CVS #3355           AR2916659           17.6%    17.9%    20.0%    19.1%    19.4%    17.8%    18.6%
         CVS #3346           AR2877136            7.4%     8.3%     9.2%     9.7%     9.5%     9.8%     8.6%
         CVS #3359           AR2916798           10.4%    11.2%    12.3%    11.5%    11.0%    12.1%    11.9%
         CVS #7371           BR3920089            8.3%     9.2%     8.9%     9.7%    10.5%     9.8%     9.7%
         CVS #4333           AR7850933           16.2%    16.8%    17.6%    17.3%    16.4%    18.3%    17.6%
         CVS #3320           AR4858087           16.8%    18.3%    19.7%    17.3%    16.7%    16.8%    17.2%
         CVS #3332           AR5438660           11.0%    11.9%    13.5%    12.5%    13.8%    13.5%    13.7%
         CVS #3041           AR2943656           16.5%    18.4%    19.1%    19.4%    19.2%    19.5%    18.5%
         CVS #3343           AR9730323            9.4%     9.7%    10.9%    11.7%    12.3%    12.2%    12.5%
         CVS #4312           AR6492223           19.9%    21.3%    23.1%    20.7%    21.1%    20.8%    19.2%
         CVS #4301           AR6779904           11.1%    12.9%    14.2%    14.2%    13.9%    15.6%    14.4%
         CVS #3032           AR2943163            7.5%     8.1%     8.9%     8.1%     9.0%     8.5%     9.4%
         CVS #4320           AR6828543           10.8%    11.7%    12.3%    12.7%    14.0%    14.9%    14.3%
         CVS #3645           BR4293990           10.1%    10.2%    10.9%    10.9%    10.3%    10.7%    10.2%
         CVS #3028           AR2939506           12.8%    14.0%    15.1%    15.2%    14.7%    15.4%    16.2%
         CVS #3314           AR9205382           12.8%    14.5%    15.4%    15.9%    14.5%    15.2%    15.0%
         CVS #4054           BR3832347           11.1%    10.9%    11.7%    11.5%    11.6%    12.4%    13.7%
         CVS #7370           BR3920077            9.6%    10.2%    10.9%    10.3%    10.4%    11.5%    10.9%
         CVS #4304           AR6450251           10.3%    10.8%    12.4%    12.2%    11.5%    12.3%    12.8%
         CVS #3092      FO1803407, BC5772632     12.0%    12.7%    13.2%    13.9%    14.0%    14.4%    14.1%
         CVS #3334           AR2876778           11.1%    10.9%    11.7%    11.1%    11.4%    12.7%    13.1%
         CVS #3337           AR2880311            6.3%     6.9%     6.9%     6.1%     6.3%     6.9%     6.6%
         CVS #4336           AR8225131           13.6%    14.6%    16.9%    16.1%    17.4%    17.6%    17.1%
         CVS #4338           AR7855779           13.8%    14.9%    16.8%    18.8%    19.0%    19.9%    18.6%
         CVS #4316           AR6828531           13.9%    14.4%    15.5%    15.1%    15.3%    16.1%    15.8%
         CVS #4330           AR8116801           10.3%    12.1%    11.8%    12.5%    12.8%    13.7%    12.6%
         CVS #4101           BR3926372            8.8%     9.2%     9.7%     9.4%    10.2%    10.5%    10.9%
         CVS #4607           BR3920053           10.9%    11.3%    11.9%    11.0%     9.8%    12.1%    11.5%
         CVS #5366           BR5648893            7.6%     7.6%     8.9%     7.6%     8.3%     8.1%     8.1%
         CVS #4309           AR6270134           16.7%    17.9%    19.2%    18.3%    19.0%    19.4%    19.4%
         CVS #4034           BR3832309           10.8%    11.1%    12.1%    11.4%    11.4%    12.3%    11.8%
         CVS #3347           AR2887531            6.5%     8.5%    10.0%     8.9%     8.8%    10.1%     9.1%
         CVS #3083      FO1803368, BC5772579     18.7%    20.5%    21.6%    22.4%    23.3%    25.7%    25.3%
         CVS #2469      FO1802950, BC6576764     10.9%    10.5%    11.2%    11.3%    11.1%    11.4%    10.6%
         CVS #3340           AR2876944           14.2%    16.3%    16.8%    16.1%    15.4%    14.7%    14.2%
         CVS #2587      FO1803267, BC7023865     13.0%    12.2%    15.2%    15.0%    14.6%    14.1%    13.6%
         CVS #2503      FO1802998, BC6668997     13.6%    13.8%    13.7%    13.8%    14.4%    16.1%    16.2%
         CVS #3697           BR4169896            8.5%     9.2%    10.2%     9.8%     9.6%    10.3%     9.2%
         CVS #4282           BR3901217           11.5%    10.8%    12.8%    12.0%    13.4%    13.7%    13.7%
         CVS #7687           BR5209172            8.7%     9.0%    10.0%     9.9%     9.8%     9.2%    10.7%
         CVS #4572           FO1616311                                      21.5%    15.0%    17.2%    17.1%
         CVS #4811           BR3137014            9.5%    10.1%    11.3%    10.3%    10.9%    12.4%    14.3%
         CVS #4488           BR5347768           15.5%    16.3%    16.3%    15.8%    15.9%    16.2%    16.7%
         CVS #4208           BR3971682           10.5%     9.7%    11.5%    11.4%    10.7%    10.0%    10.5%
         CVS #4305           AR9102651            8.1%     8.3%     9.2%    10.1%     9.9%     9.1%     9.9%
         CVS #4402           BR3298470           10.9%    10.8%    12.6%    12.2%    12.7%    12.6%    12.4%
         CVS #8932           FO2216794                                               12.3%    12.8%    11.1%
         CVS 10893           FO7114666
         CVS 17340           FO5704766
         CVS 17411           FO5704780
         CVS 16927           FO5704475
         CVS 16245           FO5713878
         CVS 16381           FO5704057
         CVS 17305           FO5704730
         CVS 16246           FO5703992
         CVS 16665           FO5704336
         CVS 17303           FO5704716
         CVS 17109           FO5704576
         CVS 16380           FO5704045
         CVS 16962           FO5704499
         CVS 16382           FO5704083
         CVS #4106           BR3971670




148
      McCann Dataset; Cardinal Opioid Distribution Data; Cardinal Non-Opioid Distribution Data; CVS Distribution
      Data.



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Table 21: Opioid % for All Track 1 Cardinal CVS Pharmacies Over Time (2006-2017) 149
       Customer Name   Customer DEA Number(s)   2006     2007     2008     2009     2010     2011     2012     2013   2014   2015   2016   2017   Overall
         CVS #3322           AR7531418            8.7%     9.5%    11.3%    11.9%    12.6%    12.6%    12.1%
         CVS #4347           AR1404730            5.9%     6.6%     7.8%     7.4%     7.4%     7.7%     7.2%
         CVS #3035           AR6686301            6.3%     7.5%     8.0%     7.5%     7.5%     7.9%     7.7%
         CVS #4300           AR6448888            4.7%     5.1%     5.8%     6.0%     5.6%     5.9%     5.8%
         CVS #4800           BR0287234           10.4%    11.2%    12.2%    13.7%    13.5%    12.7%    11.3%
         CVS #3360           AR2879318            6.3%     7.3%     7.7%     7.2%     7.4%     7.8%     7.3%
         CVS #3338           AR7883449            4.4%     5.2%     6.5%     5.9%     4.8%     5.5%     5.7%
         CVS #3329           AR2879217            3.7%     4.1%     4.8%     4.7%     5.1%     5.8%     5.6%
         CVS #3301           AR2953568            3.3%     3.9%     4.5%     4.7%     4.4%     4.4%     3.6%
         CVS #3339           AR9581415            5.1%     5.9%     6.5%     7.0%     6.9%     7.3%     6.8%
         CVS #3634           BR4293988            2.2%     2.8%     3.0%     3.2%     3.3%     3.4%     3.3%
         CVS #4359           AR2151051            4.0%     4.6%     4.3%     4.0%     3.4%     3.4%     3.4%
         CVS #4345           AR8147818            3.0%     3.4%     3.5%     3.8%     3.6%     3.5%     3.3%
         CVS #3333           AR8556663            6.8%     8.2%     8.5%     8.6%     8.2%     8.0%     7.3%
         CVS #4803           BR3522009            3.9%     5.0%     6.8%     8.4%     8.5%     7.1%     5.9%
         CVS #3306           AR2960688            6.3%     6.4%     6.9%     6.3%     6.0%     5.7%     5.8%
         CVS #4499           BR5638880            4.0%     4.0%     4.5%     4.7%     4.7%     4.9%     5.0%
         CVS #4350           AR9079826            3.1%     3.4%     3.0%     4.1%     4.5%     5.0%     4.6%
         CVS #3817           BR3832335            6.2%     6.1%     6.2%     6.3%     5.5%     5.6%     5.4%
         CVS #4437           BR5144403            4.2%     4.6%     5.1%     4.4%     4.2%     4.4%     4.1%
         CVS #3355           AR2916659            8.2%     8.4%     9.1%     8.7%     9.5%     8.5%     8.4%
         CVS #3346           AR2877136            2.4%     3.1%     3.8%     4.3%     4.6%     4.6%     3.6%
         CVS #3359           AR2916798            3.8%     4.2%     5.0%     4.8%     4.4%     4.9%     4.3%
         CVS #7371           BR3920089            3.5%     4.1%     4.2%     4.9%     5.7%     5.0%     4.4%
         CVS #4333           AR7850933            7.9%     8.0%     8.8%     8.4%     7.9%     8.1%     7.4%
         CVS #3320           AR4858087            8.1%     8.7%     9.4%     8.1%     7.9%     8.1%     8.0%
         CVS #3332           AR5438660            4.5%     4.9%     5.7%     5.4%     5.8%     5.9%     5.6%
         CVS #3041           AR2943656            8.1%     9.5%    10.1%    10.5%    10.8%    11.1%    10.0%
         CVS #3343           AR9730323            3.4%     3.7%     4.4%     5.0%     5.4%     5.0%     5.2%
         CVS #4312           AR6492223            9.9%    11.4%    11.9%    10.7%    10.8%    10.1%     8.9%
         CVS #4301           AR6779904            4.9%     6.3%     6.3%     5.9%     5.9%     6.6%     5.7%
         CVS #3032           AR2943163            2.4%     2.8%     3.2%     3.3%     3.5%     3.6%     3.7%
         CVS #4320           AR6828543            4.3%     5.2%     5.6%     6.4%     7.4%     7.7%     6.8%
         CVS #3645           BR4293990            4.6%     4.3%     4.5%     4.8%     4.3%     4.3%     3.9%
         CVS #3028           AR2939506            6.3%     7.0%     7.7%     7.8%     7.4%     7.2%     7.5%
         CVS #3314           AR9205382            5.9%     7.1%     7.4%     7.7%     7.3%     7.4%     6.7%
         CVS #4054           BR3832347            5.1%     5.3%     5.2%     5.4%     5.5%     5.8%     5.9%
         CVS #7370           BR3920077            3.7%     4.2%     4.3%     4.0%     4.3%     5.1%     3.8%
         CVS #4304           AR6450251            3.6%     3.4%     3.8%     4.1%     3.7%     4.1%     3.9%
         CVS #3092      FO1803407, BC5772632      4.5%     5.2%     5.2%     5.8%     5.7%     5.9%     5.9%
         CVS #3334           AR2876778            4.3%     4.5%     4.7%     4.9%     4.8%     5.4%     5.3%
         CVS #3337           AR2880311            2.3%     2.5%     2.6%     2.3%     2.7%     2.9%     2.3%
         CVS #4336           AR8225131            6.3%     6.6%     7.9%     7.9%     8.7%     8.9%     8.1%
         CVS #4338           AR7855779            6.4%     7.4%     8.7%     9.6%    10.5%    11.0%     9.1%
         CVS #4316           AR6828531            6.1%     7.0%     7.9%     8.3%     8.6%     8.7%     8.1%
         CVS #4330           AR8116801            4.9%     6.4%     6.4%     6.9%     7.0%     7.8%     6.2%
         CVS #4101           BR3926372            2.7%     2.9%     3.4%     3.2%     3.4%     3.8%     3.6%
         CVS #4607           BR3920053            3.9%     4.4%     5.3%     4.8%     4.1%     5.3%     4.4%
         CVS #5366           BR5648893            3.0%     3.0%     4.5%     3.8%     4.7%     4.3%     3.6%
         CVS #4309           AR6270134            8.4%     9.5%    10.3%     9.7%     9.7%     9.4%     9.1%
         CVS #4034           BR3832309            4.0%     4.0%     4.4%     4.4%     4.3%     4.9%     4.4%
         CVS #3347           AR2887531            1.8%     3.0%     4.0%     3.5%     3.7%     3.6%     3.3%
         CVS #3083      FO1803368, BC5772579      8.6%    10.3%    11.4%    11.3%    12.8%    14.5%    13.6%
         CVS #2469      FO1802950, BC6576764      4.0%     3.7%     3.4%     3.5%     3.3%     3.4%     2.7%
         CVS #3340           AR2876944            5.3%     6.5%     6.4%     6.1%     6.2%     5.5%     5.2%
         CVS #2587      FO1803267, BC7023865      5.2%     4.8%     6.2%     6.2%     5.7%     5.9%     5.4%
         CVS #2503      FO1802998, BC6668997      5.3%     6.3%     6.3%     6.2%     7.0%     7.2%     6.8%
         CVS #3697           BR4169896            2.6%     2.7%     2.8%     2.9%     2.6%     2.9%     2.2%
         CVS #4282           BR3901217            4.9%     5.1%     6.6%     6.3%     7.6%     7.4%     6.9%
         CVS #7687           BR5209172            2.1%     2.4%     2.6%     2.5%     2.3%     2.3%     2.8%
         CVS #4572           FO1616311                                      12.5%     6.7%     7.6%     7.1%
         CVS #4811           BR3137014            3.6%     4.2%     5.1%     4.7%     4.9%     5.6%     5.8%
         CVS #4488           BR5347768            6.3%     7.7%     7.5%     6.7%     7.2%     7.4%     7.2%
         CVS #4208           BR3971682            3.6%     3.6%     4.0%     4.2%     4.5%     4.0%     3.7%
         CVS #4305           AR9102651            3.2%     3.2%     3.9%     4.9%     5.0%     3.4%     3.0%
         CVS #4402           BR3298470            4.7%     5.0%     6.6%     6.9%     7.4%     6.7%     5.5%
         CVS #8932           FO2216794                                                4.3%     4.8%     3.4%
         CVS 10893           FO7114666
         CVS 17340           FO5704766
         CVS 17411           FO5704780
         CVS 16927           FO5704475
         CVS 16245           FO5713878
         CVS 16381           FO5704057
         CVS 17305           FO5704730
         CVS 16246           FO5703992
         CVS 16665           FO5704336
         CVS 17303           FO5704716
         CVS 17109           FO5704576
         CVS 16380           FO5704045
         CVS 16962           FO5704499
         CVS 16382           FO5704083
         CVS #4106           BR3971670




149
      McCann Dataset; Cardinal Opioid Distribution Data; Cardinal Non-Opioid Distribution Data; CVS Distribution
      Data.


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                    APPENDIX D: CONSIDER PROXIMITY TO A HOSPITAL


          140.     I have expanded my analysis found in Table 11 to include pharmacies located within 0.5
                   miles of a hospital (not just 0.25 miles).

Table 22: Percentage of McCann Flagged Cardinal Dosage Units Within Close Proximity to
Hospital (0.5 Miles) (2006-2017) 150

                                                                     % of McCann Flagged
                               McCann Method                         Dosage Units Affected
                              Six-Month Trailing                                        38.3%
                       Two Times Trailing Twelve-Month                                  40.0%
                      Three Times Trailing Twelve-Month                                 41.9%
                           8,000 Monthly Maximum                                        39.4%
                         Maximum Daily Dosage Units                                     39.2%
                              Any McCann Method                                           39.4%
.




150
      McCann Dataset; ARCOS; Texas A&M University GeoInnovation Center; TAMU GeoServices. Available at
      https://geoservices.tamu.edu/ (Accessed 5/8/2019). Close Proximity to a Hospital has been defined as on-site at
      hospital, within 0.50 miles of a hospital, or be the nearest pharmacy to a hospital.


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       APPENDIX E: CARDINAL TRACK 1 SHIPMENTS COMPARED TO THE APQ


           141.     In addition to the analysis found in Figure 7, I have confirmed in Table 23 that the Cardinal
                    shipments of each opioid into Track 1 are at levels that remain consistent with the overall
                    market trends as reflected by the APQ.

Table 23: Cardinal Track 1 Distributions in Grams per Capita as a Percentage of the National
Aggregate Production Quota (2006 – 2017) 151

                                  Cardinal Track 1 Distributions in Grams per Capita - Percentage of Quota
                                                               without Buffer
         Drug Name                          2006 - 2010                                2011 - 2017
         Oxycodone                                               23.6%
       Hydrocodone                                                4.9%
         Morphine                                                22.4%
          Codeine                                                 5.8%
        Tapentadol
        Meperidine                                                 21.1%
      Hydromorphone                                                17.6%
       Oxymorphone                                                 31.9%
          Fentanyl                                                 13.0%
      Dihydrocodeine                                                1.4%
           Opium
        Levorphanol                                                  4.0%



           142.     I have also analyzed the growth of Cardinal’s Track 1 oxycodone shipments and compared
                    them to the growth of the oxycodone APQ. As demonstrated in Figure 10, Cardinal’s Track
                    1 shipments are growing at a rate that is markedly lower than the rate at which oxycodone
                    APQ is growing. 152




151
       McCann Data; APQ.
152
       In addition to completing this analysis for oxycodone, I have confirmed that it yields similar results for each of
       the other 11 opioids. Additionally, I have expanded this analysis to include only customers that are active across
       the period, and have found no material difference in the results of the analysis.



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Figure 10: Cardinal Track 1 Distributions and National Aggregate Production Quotas: Oxycodone
(2006-2017) 153




153
      McCann Data; APQ.


                                                    71
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 APPENDIX F: PERCENTAGE OF NATIONAL AGGREGATE PRODUCTION QUOTA
           THAT IS EXCESSIVE PER MCCANN’S METHODOLOGY

Table 24: Percentage of National Aggregate Production Quota that is Excessive per McCann’s
“Excessive Shipments” Methodology 154




154
      McCann Report, Table 44; APQ.


                                                   72
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          APPENDIX G: DISTRIBUTIONS TO CVS, DISCOUNT DRUG MART, AND
                           WALGREENS PHARMACIES

Figure 11: Hydrocodone Shipments to CVS Pharmacies by Distributor (2006-2017) 155




155
      McCann Dataset.


                                                  73
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Figure 12: Hydrocodone Shipments to Discount Drug Mart Pharmacies by Distributor (2006-
2017) 156




156
      McCann Dataset.


                                                  74
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Figure 13: Opioid Shipments to Walgreens Pharmacies by Distributor (2006-2017) 157




157
      McCann Dataset.


                                                  75
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                 APPENDIX H: CARDINAL DISTRIBUTIONS TO CVS STORES


          143.     I have analyzed the percentage of Track 1 CVS distributions which are shipped by Cardinal
                   in Table 26. In aggregate, Cardinal ships         of all CVS pharmacies’ dosage units.

Table 25: Cardinal and CVS Chain Warehouse Distributions to CVS Stores (2006-2014) 158

                                                     Opioid & Non-Opioid Volume
                                               Total Dosage
                               Year               Units         % Cardinal    % CVS
                               2006              263,623,529         14.7%       85.3%
                               2007              269,629,209         14.6%       85.4%
                               2008              270,747,188         15.5%       84.5%
                               2009              304,024,310         15.8%       84.2%
                               2010              309,476,773         14.7%       85.3%
                               2011              321,689,126         15.3%       84.7%
                               2012              347,845,770         16.9%       83.1%
                               2013
                               2014
                      Total




158
      McCann Dataset; Cardinal Opioid Distribution Data; Cardinal Non-Opioid Distribution Data; CVS Distribution
      Data.


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CVS Non-Opioid and Hydrocodone Distribution Data                                                                       CVS-MDLT1                 000124148
CVS Non-Opioid and Hydrocodone Distribution Data                                                                       CVS-MDLT1                 000124149
CVS Non-Opioid and Hydrocodone Distribution Data                                                                       CVS-MDLT1                 000124150
CVS Non-Opioid and Hydrocodone Distribution Data                                                                       CVS-MDLT1                 000124151
CVS Non-Opioid and Hydrocodone Distribution Data                                                                       CVS-MDLT1                 000124152
CVS Non-Opioid and Hydrocodone Distribution Data                                                                       CVS-MDLT1                 000124153
CVS Non-Opioid and Hydrocodone Distribution Data                                                                       CVS-MDLT1                 000124154
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CVS Non-Opioid and Hydrocodone Distribution Data                                                                       CVS-MDLT1                 000124174
CVS Non-Opioid and Hydrocodone Distribution Data                                                                       CVS-MDLT1                 000124175
CVS Non-Opioid and Hydrocodone Distribution Data                                                                       CVS-MDLT1                 000124176
CVS Non-Opioid and Hydrocodone Distribution Data                                                                       CVS-MDLT1                 000124177
CVS Non-Opioid and Hydrocodone Distribution Data                                                                       CVS-MDLT1                 000124178
CVS Non-Opioid and Hydrocodone Distribution Data                                                                       CVS-MDLT1                 000124179
CVS Non-Opioid and Hydrocodone Distribution Data                                                                       CVS-MDLT1                 000124180
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